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                       EXHIBIT 1
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                       Case No.: 1: 13-cv-23285-WJZ
                                      State Case No.: 13-25116CA-I0


        AUTOMOTORES GALINDO, S.A.,

                 Plaintiff,

        v.

        FORD MOTOR COMPANY,

                 Defendant.
        __________________________1


         DEC LARA TION OF RAMIRO GUEVARA IN SUPPORT OF DEFENDANT'S
        OBJECTIONS TO RECOGNITION AND ENFORCEABILITY OF AN OUT-OF-
                         COUNTRY FOREIGN JUDGMENT

                I, RAMIRO GUEVARA, declare under penalties of perjury as follows:


        1. I am an attorney duly admitted to practice before the courts of the Republic of
             Bolivia.   I am the senior partner at the law firm of Guevara & Gutierrez S.c.
             ("Guevara law firm") with offices at Calle 15 No. 7715, esquina Calle Sanchez
             Bustamante, Torre Ketal, Piso 4, Of. 2, La Paz, Bolivia, as well as at B/Sirari -
             Calle Los Gomeros No. 120, Santa Cruz, Bolivia. The Guevara law firm also
             maintains correspondent offices in the cities of Cochabamba and Sucre, Bolivia.


        2. Guevara law firm has been and continues to be counsel to Ford Motor Company
             ("Ford") in the Bolivian proceeding which led to the issuance of the judgment
             whose recognition and enforcement is being sought in the instant action. As the
             senior partner, I have at all relevant times maintained full oversight of the Guevara
             law firm's representation of Ford in the Bolivian proceedings.
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         3. I submit this declaration at the request of U.S. counsel for Ford in the instant action.
            Specifically, I have been asked and hereby do set forth below the legal process in
            Bolivia which led to the issuance of the Bolivian judgment.


         4. On August 2, 2002, Enrique Galindo Huerta, in his capacity as the legal
            representative of Automotores Galindo S.A. ("Galindo S.A."), filed a civil lawsuit
            in the City of Cochabamba, Republic of Bolivia, against Ford ("Bolivian Court
            Action"). A copy of the claim is annexed hereto as Exhibit A.


         5. Some background about the Galindo family. Although the legal representative of
            Galindo S.A. in the Bolivian Court Action was Enrique Galindo Huerta, Galindo
            S.A. is a family enterprise in which the patriarch, Hugo Galindo Salcedo, is the most
            prominent member (and, indeed, remains the primary legal representative of the
            company).


        6. Cochabamba, where the events described herein took place, was at the time of the
            commencement of the Bolivian Court Action the fourth largest city in Bolivia with a
            population of approximately 500,000, substantially lower than the popUlation of the
            two largest cities. Bolivia is divided into Departments. Prior to 2010, the political
            head of each Department held the title of the Prefect and, prior to 2005, was
            appointed by the President of the Republic. Mr. Hugo Galindo was the Prefect of the
            Cochabamba Department from 1999 until 2000. He was appointed to this position
            by virtue of being a very prominent member of one of the most important political
            parties in Bolivia at the time (Acci6n Democnltica Nacionalista), which was headed
            by the former military dictator, General Hugo Banzer Suarez. In addition, as a
            result of his various enterprises (which extended well beyond the Ford dealership),
            Mr. Hugo Galindo was regarded as a very prominent and influential member of the
            Cochabamba business community,           having been elected President of the
            Cochabamba Chamber of Commerce on several occasions.


        7. By way of further context, the Bolivian Court Action was commenced several
            months after a judgment was obtained by Ford Credit Europe (a trade name of FCE
           Bank plc and an indirectly-owned subsidiary of Ford Motor Company) against
            Galindo, S.A. in the High Court of Justice of England, in the amount of

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            $2,229,431.86. The English Court judgment was issued on January 29, 2002, six
            months before Galindo S.A. filed the Bolivian Court Action. In April 2004, the
            English Court judgment was recognized and admitted by the Bolivian Supreme
            Court as a result of an exequatur procedure.


         8. Galindo S.A.'s claims in the Bolivian Court Action were predicated on the Global
            Importer Dealer Sales and Service Agreement, dated April 15, 1999, between
            Galindo S.A. and Ford ("GIDS Agreement"), and the Global Importer Dealer Sales
            and Service Agreement Standard Provisions ("GIDS Standard Provisions"), which
            were incorporated and made a part of the GIDS Agreement. A copy of the GIDS
            Agreement is annexed hereto as Exhibit B. A copy of the GIDS Standard Provisions
            is annexed hereto as Exhibit C.


         9. The gist of Galindo S.A. 's claims in the Bolivian Court Action was that Ford had
            fraudulently induced Galindo S.A. to enter into the GIDS Agreement by means of
            (a) misrepresentations of Galindo S.A.'s risks and obligations under the GIDS
            Agreement, and (b) failure to timely execute the GIDS Agreement. Galindo S.A.
            claimed that these "misrepresentations" and the alleged delay rendered impossible
            Galindo S.A.'s performance under the GIDS Agreement and ultimately led to the
            termination by Ford of Galindo S.A.'s dealership, which, according to Galindo
            S.A.'s filing, occurred on February 1,2002.


        10. Specifically as to its claims, Galindo S.A. asserted the following:


               III. - CLAIM. - For the reasons described; and supported by the above-
               mentioned legal provisions as well as Article 327, and subsequent articles of the
               Code of Civil Procedure, we file an ordinary proceeding against the North
               American company FORD MOTOR COMPANY, for compensation of damages,
               requesting that after the compulsory procedures have been complied with, the
               claim be declared proven by final sentence and it be granted:
               a) A compensation for damages to GALINDO S.A. stemming from the pre-
               contractual fault and failure to communicate the grounds for termination of the
               concession contract signed in 1999, which led to investments in unproductive
               assets.

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                b) Compensation for damages caused by the breach of the signing of the
                contract in a timely manner, which also led to unjustified investments.
                c) That the amounts be quantified on the execution of the sentence once it
                becomes res judicata.
                d) The condemnation to the payment of court fees.


         11. In accordance with Bolivian procedural law, Galindo S.A.' s claim was assigned to
            the Seventh Judge of Civil and Commercial Claims of the Judicial District of
            Cochabamba ("Seventh Civil Judge").


         12. Subsequent to the filing of Galindo S.A.'s claim, Ford appointed, by means of a
            power of attorney, Bolivian lawyers Primitivo Gutierrez Sanchez and Rodrigo
            Rivera Aldazosa of the Guevara law firm, as well as Sandra Yanez Eid (who was at
            the time a correspondent of the Guevara law firm in the city of Cochabamba), as
            Ford's attorneys in the Bolivian Court Action. The power of attorney was legalized
            by the General Bolivian Consulate in Washington D.C., by the Bolivian Ministry of
            Foreign Affairs in La Paz, Bolivia, and was subsequently registered before a
            Bolivian Notary Public and the Bolivian Registry of Commerce.


         13. On November 24,2003, Sandra Yanez Eid, a correspondent of the Guevara law firm
            in Cochabamba, filed on Ford's behalf an objection to the Seventh Civil Judge's
            lack of subject matter jurisdiction.    The objection (hereinafter, the "Arbitration
            Objection") was based on the exclusive arbitration provision contained in the GIDS
            Agreement. A copy of the Arbitration Objection is annexed hereto as Exhibit D.


         14. Specifically, paragraph 14 of the GIDS Standard Provisions, entitled "DISPUTE
            RESOLUTION PROCESS," provides for arbitration as the exclusive method by
            which all disputes between Galindo S.A. and Ford were to be resolved. (Notably,
            the GIDS Standard Provisions were attached to Galindo S.A.'s claim, and served as
            the basis for Galindo S.A. 's claim.)


         15. Paragraph 14 of the GIDS Standard Provisions sets out a very detailed arbitration
            procedure, which requires all disputes to be submitted to the American Arbitration
            Association in accordance with the Procedures for Cases under the UNCITRAL

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             Arbitration Rules, and further provides that the resolution of all such disputes is to
             be governed by the substantive and procedural law of the State of Michigan.
             Paragraph 14 concludes as follows:


                The Company [i.e., Ford} and the Dealer [i.e., Galindo, S.A.} agree that the
                dispute resolution process outlined in this paragraph 14, which includes binding
                arbitration, shall be the exclusive mechanism for resolving any controversy or
                claim between them arising out of or relating in any way to this Agreement
                including all attachments hereto, its creation, interpretation, 'implementation,
                invalidity or termination.


                Exhibit C at 14 (emphasis added).


         16. Ford's Arbitration Objection was supported by article 12 III of the Bolivian
            Conciliation and Arbitration Law No. 1770, which provides as follows:


                Once the existence of an arbitration agreement is verified, and without
                possibility of filing any appeal, the judicial authority shall grant the arbitration
                objection, or, deciding only on the nullity or impossible execution of the arbitral
                agreement, the judicial authority shall reject the arbitration objection.


         17. On March 29, 2004, the Seventh Civil Judge issued a ruling dismissing the
            Arbitration Objection (the "Arbitration Objection Ruling").           A copy of the
            Arbitration Objection Ruling is annexed hereto as Exhibit E.


         18. In the Arbitration Objection Ruling, the court ruled that:


                (... ) The Company Ford Motor Company, has unilaterally terminated the validity
                of the contract; now then, on the damages claimed by the dealer who says they
                were caused by this fact (of the unilateral termination of the contract), it is
                impossible to bring this claim to arbitration under the agreement before an
                Arbitral Tribunal of the State of Michigan United States: impossible situation
                that is provided by article 12-//1 last part of the cited law. THEREFORE.- The
                Arbitration Objection is dismissed.

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         19. Effectively, the Seventh Civil Judge held that because Ford had terminated the
            GIDS Agreement, the arbitration clause in the agreement was thus also terminated
            and was therefore unenforceable.


         20. On April 12, 2004, the Guevara law firm filed on Ford's behalf an appeal from the
            Arbitration Objection Ruling. A copy of the appeal is annexed hereto as Exhibit F.
            The appeal was based on Article 11 of the Bolivian Arbitration Law, which provides
            as follows:


               Any arbitral agreement included in the main contract shall be considered as an
                independent agreementfrom the other provisions contained therein.


            Ford's argument, thus, was that the termination by Ford of the GIDS Agreement did
            not terminate the arbitration clause, which was deemed, under Article 11 of the
            Bolivian Arbitration Law, to be a separate and independent agreement enforceable
            on its terms.


         21. Two years later, on May 26,2006, the Second Court of Civil Claims of the Judicial
            District of Cochabamba ("Appeals Court") ruled (a) that it had no jurisdiction over
            the appeal, (b) that the ruling remitting the appeal to the Appeals Court was null and
            void, and (c) that Arbitration Objection Ruling was res judicata. As stated by the
            Appeals Court:


               Article 12. III of Law No. 1770, clearly states that: '... once the existence of an
               arbitration agreement is verified, and without possibility of filing any appeal,
               the judicial authority shall grant the arbitration objection, or, deciding only on
               the nullity or impossible execution of the arbitral agreement, the judicial
               authority shall reject the arbitration objection ... '; in this case having had the
               arbitration objection rejected, the Company Ford Motor Company filed an
               appeal, an appeal that was improperly granted by the a-quo [first instance]
               judge in blatant disregard of the transcribed legal rule which is of compulsory
               compliance pursuant to article 90 of the Code of Civil Procedure.


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            (Emphasis in the original). A copy of the Appeals Court's ruling is annexed hereto
            as Exhibit G.


         22. The gist of the Appeals Court's ruling was that the Arbitration Objection Ruling was
            not appealable.


         23. On December 9, 2006, Primitivo Gutierrez Sanchez, of the Guevara law firm, filed
            on Ford's behalf a constitutional appeal ("Recurso de Amparo Constitucional") of
            the decisions of the Seventh Civil Judge and the Appeals Court (the "Constitutional
            Appeal"). The Constitutional Appeal requested the following relief:


                i) that the declaration of res judicata of the ruling on the arbitration objection
                issued on March 2cJh, 2004, contained in the final part of the appeal ruling of
               page 194 issued on May 26th, 2006, be declared without any legal value or be
               declared inapplicable; and, ii) that the AD-QUO [first instance] judge must
                comply with paragraph III of Article 12 of the Conciliation and Arbitration Law
               No. 1770, declaring that the arbitration objection filed by the corporation Ford
               Motor Company be declared proven, with the consequent remittance of the case-
               file to the Arbitral Tribunal agreed by the parties, with condemnation to the
               payment of court fees.


               A copy of the Constitutional Appeal is annexed hereto as Exhibit H.


        24. On February 2, 2007, the Third Court of Criminal Claims of the Judicial District of
            Cochabamba (the "Constitutional Appeals Court"), without reviewing the merits of
            the appeal, issued a ruling declaring the Constitutional Appeal inadmissible. The
            grounds for the ruling, as stated by the Constitutional Appeals Court, were as
            follows:


               I. All persons contemplated in article 5 of the Commercial Code have the
               obligation to prove before the judicial authority their registration with the
               Registry of Commerce, as established by article 33 of the same body of law (... )
               Even though it is true that the document attached at pages 17 to 25 complies
               with the requisites of validity required by article 1309 of the Civil Code, because

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               it is a photocopy of the original document, legalized by the official who is the
               legal depository of said document, Tatiana Tercin de Velasco, Public Notary No.
              61 of the city of La Paz; however, it does not prove the registration of FORD
              MOTOR COMPANY in the Registry of Commerce, nor the registration of the
              appointment of its legal representative, given that, even though the legalized
              copy shows the seal of the Registry of Commerce, said seal lacks legal value
              because it is not legalized by the officer in charge of the Registry of Commerce.


              Even though it is true that the company FORD MOTOR COMPANY has its main
              office in the United States of America; however, such situation does not excuse
              its legal representative from complying with the above cited legal provisions, in
              order to act in judicial proceedings with the required legal representation. In
              any event, the appellant has not proven that the public document, which it
              affirms was granted abroad, complies with the formalities set forth therein, as
              required by article 1294 of the Civil Code.


              In accordance with the above, due to the lack of the noted legal fonnality, the
              copy of the power of attorney No. 49312003, of November 1th, 2003, granted by
              the Notary Public No. 61 of the city of la Paz, Tatiana Tercin de Velasco, is
              insufficient to prove the legal representation of FORD MOTOR COMPANY by
              Primitivo Gutierrez Sanchez.


              In addition, in relation to the legal representation of the appellant, the copy of
              the power of attorney attached grants him powers to intervene 'in defense of the
              Company within the civil claim filed by AUTOMOTORES GALINDO SA, claim
              currently heard before the Seventh Civil Judge of the District of Cochabamba of
              the Republic of Bolivia ... ' but does not grant the express power of attorney to
              act in the current Constitutional Appeal and to direct its claim against the
              Seventh Civil Judge or the members of the Second Court of Civil Claims of the
              Judicial Court of Cochabamba.
              ( ... )


             11. The copy of the power of attorney used by the appellant to act in this appeal,
             likewise does not comply with the provision of article 402 of the Code of Civil

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                Procedure, since it has not been presented in its entirety in the Spanish
                language, still contains parts in a foreign language that are not translated. Such
                situation invalidates the procedural value as proof of said document, and
                reinforces the conclusion that the appellant has not proven correctly its legal
                representation.


                III. (... )
                In this case the appellant does not describe precisely the remedy that it is
                requesting, since in its petition it does not request that the ruling issued by the
                Seventh Civil Judge on March 29, 2004 be declared without any effect; however
                it requests that said Judge grant the arbitration objection that he filed in
                representation of Ford Motor Company; which means that, being that the first
                ruling remains in force, we have to accept that another parallel ruling is issued
                in contrary sense; situation incongruent and contrary to any system of law. For
                that reason, it is established that the appellant did not comply with the rule of
                article 97, paragraph VI of the Constitutional Tribunal Law (. .. )


            A copy of the Constitutional Appeals Court's ruling is annexed hereto as Exhibit I.


         25. In accordance with articles 7, par. 8) and 102 V of the Constitutional Tribunal Law
            No. 1836, the February 2, 2007, ruling of the Constitutional Appeals Court was
            forwarded for review to the Bolivian Constitutional Tribunal. On July 12, 2010, the
            Constitutional Tribunal confirmed the decision of the Constitutional Appeals Court
            on the grounds that:


                (... ) from the review of the Power Of Attorney attached by the appellant (... )
                (pages 17 to 25 and its o rig ina I from pages 93 to 101) it is evident that, although
                Ford Motor Company grants him with powers to intervene in defense of the
                Company within the civil claim that has motivated the constitutional appeal (... ),
               being therefore able to that effect to file ordinary and extraordinary appeals,
               including the constitutional appeals set forth in the Constitutional Tribunal Law
               (sic); such instrument does not contain minimally the transcript of the
               documents related to the constitution of the company, the proof of its legal
               existence, documents related to the legal constitution of its board, the list of the
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                members of the board, election of its legal representative, internal rules that
                authorize to designate legal representatives, etc; on the contrary, it is
                established that the powers were granted by an Assistant Secretary and that
                another Secretary, also assistant, certifies that the first is precisely Assistant
                Secretary and that her powers were in turn delegated by the President of the
                Board, reason why such power of attorney cannot be considered as sufficient,
                and therefore it did not comply with a formal requisite, as a result of which the
                Constitutional Appeal Court should have rejected the constitutional appeal, but,
                since it was admitted and the ruling that is being reviewed was issued, it is
                necessary to reject the remedy sought without considering the merits of the case.


         26. In addition, the Constitutional Tribunal confrrmed the reasoning of the Appeals
            Court's ruling concerning the interpretation of Article 12 III of the Arbitration Law,
            to the effect that the ruling issued by the Seventh Civil Judge was legally not subject
            to any appeal.


         27. Based on this conclusion, the Constitutional Tribunal found that the six-month
            statute of limitations applicable to the filing of the Constitutional Appeal had
            expired before its filing. According to the Constitutional Tribunal, this was because
            the Constitutional Appeal was filed more than six months after the issuance of the
            Arbitration Objection Ruling by the Seventh Civil Judge. In this regard, the
            Constitutional Tribunal stated that:


               As a consequence, without need of further argumentation, being that the
               unsuitability of the appeal and consequently of the ruling of May 26th , 2006 was
               demonstrated and accepted; the date of service of said ruling cannot be
               considered as the beginning of the countdown of the six months period, but
               rather the service of the ruling of March 29, 2004 that was peiformed on April
               of that year (... ) This fact ratifies the rejection of the remedy sought, clarifying
               that the merits of the case have not been analyzed.


            A copy of the ruling by the Constitutional Tribunal is annexed hereto as Exhibit 1.




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         28. In simpler terms, the Constitutional Tribunal ruled that because the Arbitration
            Objection Ruling issued by the Seventh Civil Judge was not appealable to the
            Appeals Court (i.e., through the regular appeals process), the six-month period for
            filing the Constitutional Appeal began to run not from the ruling of the Appeals
            Court (May 26, 2006), but from the Arbitration Objection Ruling issued by the
            Seventh Civil Judge (March 29, 2004). Consequently, because the Appeals Court
            took more than two years to issue its ruling, the Constitutional Tribunal deemed the
            Constitutional Appeal as having been filed past the six-month deadline.


         29. With the ruling of the Constitutional Tribunal, Ford had exhausted all of its legal
            avenues to enforce the arbitration provision of the GIDS Agreement in Bolivian
            courts. Having so exhausted its avenues to enforce the arbitration provision, Ford
            chose not to submit any opposition to the substantive arguments made by Galindo
            S.A. in the Bolivian Court Action.




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           I declare under penalties of perjury that the above is true and correct to the best of
         my knowledge and information.

                              --rl
            Executed this ~-day of September, 2013, in La Paz, Bolivia.




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                      EXHIBIT A
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                                                                       www.scantopdf.eu
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                      EXHIBIT B
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                                                          c-                                           r
       (,

                                                           GLOBAL~RORTERDEALER
                                                       SALES AND SERVICE AGREEMENT
                           THIS AGREEMENT made at D~u-bom, Miehigan, United States of America as of the ;.104 day of
                   fi{):'..i (..              , {<1M'?, by and bchveen Ford Motor Company, a corporaticm org~ized and txisting
             !..!..'1der ~hc la'll.'S of the State ofDelaw&re, 'CSA. with its principal place ofbusines& at The American Road.
             Do::arborn. Michigan, USA (hereinafter called the "CompllD.Y"), and
                                             Au~O~roTORES GAlINPO $OCIEPAD ANON~~;
                                                       (IMPORT'".:1I. Dl;ALEIl-UOAL NAME. OF ENTIT't')

                      (';;ALINOO S .A.                 CORPORA'IION COCHUAMBA (BOL!VlA)
            (STATE WHETHER WTlTY IS AN INDIVIDUAL. PARTNERSHIP OR CORPORAnON-IF A PARTNERSHIP, SHOW PLACE
            WHERE RBOISTWD, IF A CORl'ORAnON. SHOW PL"'CB \VHElU! INCORPOMTED.)

            doing business as                          GALINPO S .A.
                                                                         (rRADE NAME)
            and with itS principal place ofb'u-siness at AV. LIBEa'l'ADOR :BOLIVA1\ # 141e
                                                                        (STltUT AODWS)

                             COCHABAMBA                                             BOLIVIA
                                      (TOWN)                                             (COtlNTtly)

            (hereinafter cal~ !be "Dealer"),

                                                                         PREAMBLl:

            The purpose of this agreement (hereinafter called the "Agreement") is to:

            (1)        establish the Dealer as an authorized dealer for the sale and service of Company Product'S including
                       Compal'ly VehiCles (as hminafter define4.);

            (2)        set forthrh.e mpectite JeSpOnSibtIities of the Company in rbe production, offer and sale of CompAlly
                       Products to the Dealer, a.tld of the Dealer in reselling and providing scMce for them;

            (3)        reeDgniu the intenkp~ of both parlic:l in achieving their mut\lal objectives of liatisfaclOZY sales. ~
                       set\'ice and profits by continuing to develop and retain a brDllli base of satisiied owners of Company
                       Prociuc:t5;and

            (4)        identi.tY leey oommitments. rights and responsibUilies offue Company and the Dealer.

            The roal of the Company is to establlsh itself as a preeminent automotiw: manufacturer, providing C\l3tomers >E--
            with the highest level orvalIX' an4 CllStonw sa~OIl.                                    ' - -_ _



            fOnn QIDSA l. March 1997

                      ~.:   ."
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                          (0 ordet to offer the best value and oustomer satisfaction ill markets where dealers import Company ProductS                (
                          directly from the CompaJlY'$ f!\lI!\uD.ctlJlil:lg $our~; it is t~ opinion of tl\e COmpany that S.. k:li 1I11.d sctVice of
                          Company Products usually can best be provided to the public through a system of independently authorized
                          dealers selling CompMY Produets.

                      I The Company also recognizes that the su.c:cess of1he Comp~y ~d of tach of its a.uthorized dealerS depends
                --,.., I largely on the: reputation end c'.)mpetiti..-eness of Company Prooucr. and the level of c.,.istomer satisfaction
                      l
      ~i                  during the customer's sales atId servit:1!t experience. and on how well each party fulfill' its ",sponsibilities under
                          this Agr~ment.

                          Because dealers represent Company l'rodu¢ts to the public, it is critical that deale:rs understand. adhere to and
                          promote the long-term goals of the Company which ~ to provide customers with the highest level of value
      ----:;V             I11d customer 5entioe.     -

                          rile Company looks to its dc.alers to develop the po~tial 'Within th¢inespective areas ofrtSponsibility for the
                          sale of Company Products. to provide prompt and competent service and cany out effective owner relations
                          programs. To this end, each clcaler nuw provide for the Importation of Company Products, maintain adequate
      , __ .""            IlfhQlesale lind .fUlly competitive retml finance: plans. provide for accepting, reconditioning and seiling ll$ed
                          prOdUCfS whm. in the opinion of tM CQmp!!nY, it is requu-ed, !nd tnrin ll'.tlllagement, sales. parts, ~t"";ce arld
                          ildminiSQ"ativc pcrsOl11lel. failure of a denIer to caTTY out any ofthcsc respOl1$ibilities damagell the reputatkm of
                          the Dealer, Company Products, the COlnpany, the Affiliates (as hereinafter defined), and other aurhorizl::d
                          dealers in Company l'rodl,lcts.

                          in the course of satisfYing custQ:net$, the COi'i".pa.'1yendeavors to mBlce aw.ilable to irs dealers products of nlgh       f
                          value and quality, responsive to broad wants and needs of the buying public. which are attrattivcly styled, of
                          ;ound engincenng design and prodw:ed on a timely basis. The development, prodUCtion ~d $ale of such
                          products requires that the Company mike significant invesbnent in plants. equipment, (oo\s, engineering.
                          styling, quality control and ll'Ilinec! persOtmel.

                       In the course of satiSfying customers., tbe Dealer 1IIIIIt provide properly located. adequate, exclusive, 'Well·
                       :quipped and attractive facilities, which are 5i4fii:d by competent, well-Trained, CU$tome!'-'Crient~d pe.."'"Scnnd,
                       I.Ild provided with the neeessary management and working capital. This requires that each of the authorized
                       jealm make important illvesllnents in tttail sales and service faciiities lU1li equipznent, in working c:lpiral, in
                       mventories oivehicies.. partS and accessories and trained srues and senice personnel.

                      1"be n~er acknowledges the.t its methods of openticn iIIId it; business ptacticcs impottantly affect the
                       :eputation of the Dealer. the Company, Company Products, other au.thoriud dealers of the: Company and
                      Affiliates. The Dealer al$o acknowledges that certain practices such as deceptive, misle~ing or COnfU5JJ1g
                      .Id\'enisin~. priCing, merchandising or b~.sine55 practices or misrepresentations as to the characteristics, q1.l3li[y .
                      .londition OT Oligm ofa.ny i~mofsale a.ro: detrimental to the intercstsofboth t.."'e Dnler and the Company.
                  (
                      Both parties haw ~ their commitment to the relatiousmp. If satisfactOry $ales volume Of profit margins far
                      ~itherthe COmpall)' or the Oealer arc not realized, eacb may suffer becau.se Qf their respective eommibnenl$.
                      Therefore, the ultimate succeQ of one pattY is dependent upon the suc:cess of the other party.




                                                                                   (ii)



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                                             r·                                            C:
            It is the cxpeclation of each of the parties that by entering intO rhi$ Asreement, and by the Nli and faithful
            performance of ita duties, a mutually sati::fying relationship will be established and maintained.

            IN CONSIOfRAlION of the foregoing mW of the m\ltLlal agreements !!lld !\clo1owledgments hereinafter made,
            the parties agree as follows:

            A. The Company hmby appoints the Dealer as an authorized dealer in Companl' Producl!: with .11" tieht tQ
            purchase CompanY hodu~ts ~om the Compall), and Company authorized Affiliates for rCSiile to rerail
            customers. While this Agreement is in effect, the Dealer may represtn! Itself to the public as an authonzed
            dealer in such Company ProduClS. The Dealer hereby accepU such appointment and agrees to fulfill its
            responsibilities as herein provided.

            B. Subject to the proYisions of this AgI1,ement, the Company or Affiliates wlll sell Company Product5 to the
            Dealer on a non-exclusive basi,g and the Dealer will pUrchasc Company Products from the Company Dr
            Aff"lliates tor resale.

            C. 'The Dealer agrees thlll !he legal entity of ~ dealership shall not own, control or be financially obligated foy.
            either direttly or indirectly, another b~incss enterprise (including any other legal entity. owned directly or
            indirectly. by .the petSOtl$ listed in paragraph F), and that the sole busmc:;$ of such legal entity shall be the
            activities contemplated by this A~ecmellt unless otherwise agreed in writing by the Company.

            D. The attached Global ImpanEl' Dea1erSale& and Service Agreement Sllmdard Provhions (Form GIDSA tAl
            and itS Attachments including the Standard!; Manual (as hereinafter defined) have been n:ad and agreed 10 by
            1:8ch party and the Stmdml Provisiol'.s, and any duly exeCtl,ed and delivered supplement. 2rnendment,
            addtndum and/or attachment thereto, are hereby made a part of this Agreement. This Agreemenl is being
            e1(.e~uled in tbtee coun~ original$.

            E. The Dilaler agrees that:

            (i)       this Agreement sllaU bind the COTIlpllIn' ,only when it bears the signatute of the Secretary or an
                      Assistant Secn:tary of the Company; and

            (ii)      no rme except the Secretary or ClIl Aliliistant Secretary of 1he COmpany is authorited on bl;'half of the
                      Company to m!!ke or e)\CCl,lte th!.o Agreement, exc;ruding its AttachmenlS, or in any manner to modify
                      the terms hereof or to terminate this Agret!ment, and then only by a written instrument.

            F. In viEW of the perllonalnatllre of this Agreement IUld its objectives and purposes, the Company expres5ly
            reserves to itself the right to naCl.lte lI11:1 agw::ment relating to the S<lle or service of Company P-rodu~1S with
            individuals or other entitiC3 s-ptcifically selc~ted and a~proved by the COlllpaIQ'. Accordingly. this Agreement
            and the rights, privileges and obligations confemtd <m the Dealer hereunder ate not transferable. assignabk OT
            salable by the Dealer, and the Dealer acknowledges th~, ru) p,qpmy right I1r inrerest, direct 0':' indIrect. is sold.
            conveyed or transferred to the Dealer under this Agreement. This Agreement has been entered into by the
            Company with the Dnler in reliaMc (i} upon the re-p;esentaliOn and a~¢Ilt that the following ptrson(s).
            and only the following peroon(s) shall be the principal owne:s, haVing greater than or equal to ten percent
            (10%) ownership, oCthe Dealer:




                                                                    (Iii)




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          HWO~H.                        Av. l!ANmt lQq. 3Js                               3.51

          lNtlQ!!! GAt.'INtlO H.        AV'. ~12827                                      3.51




          (ii) Upon the rcpresematicm and agreemellt tmt the fonowing petSQn(s), mel only the following PetS<m(s). shall
          have fUll mana.gerial authority for the opnati1lg IDan&gerncm: of the I>ealer hi the performance af rhis
          Agreement. anc! sba.1l deVOte exclusive efforts to acJlfevs that end:




                                                                                                                                 (,




          '!be Dealer shall give the Company prior writteu notice of I11Y proposed chance in the owner.ship or managerial
          authority, and immediate no~ce of the death or lncapacity of lID)' person desjplted in rhis paxagrllph F. No
          such cban8e or notice. BI1d no assignment of this Agreetaent Of of any riglit, obliptiOll or interest lu:reln by the
          Dealer, shall be cifecijye Illlless and until .m-.bodied in all appropriate writlim amcndmlmt to or assignment of
          this Apemenr, as the case may be, dulyelCl"..euted and dJllivmd by the Compav,y and by rhe Deater. In the
          event the Company's prior written approval ¢if any such change or a55igDment is not obtained, the C0!nllany
          shall ha~ the right to terminate Ibis Agreement in accordsnce wiIh pangraph 13 aCthe Standard Provisions.




                                                                  (iv)




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              G. (Stri~ out md initial paragraph G{i) at G{ii), whichever i3 not applicable.)
       r'
              (i        'l1Us Agrec:mmt aball CCQl~ in force aDd af!e(;f. UOl'n !he datt or 11'$ a.=UtiOb until letminawci by
                           UJr:r pwty under the provlsiol'ls ofpngraph 13 ofthe Stand2tl1 Provisions.


               ~x~
               XXXllX~~                          pmaid!H!jt


              H. Any notiGe required or permitted l,y this Agreement, or given in coanecrlon I=ewith • .sban be in writing in
              the English language and may be by personal delivery. by fim-class registered mail postage FI"epaid or toy
              telephone facsimile or similar clectrollic commuui~ation confirmed by a copy delivn-ed by means of one Di the
              other delivery methcds specified above .
                   •    Notices to tbe Company shall be delivered or ad~ssed to the SecretaIy's Office, The Anlerican Road,
                       Oeirbom, Michigan, 48t21.1899;

                       NotiGes to the Dea.j!;f shalt be delivered or addressed to any person desigmted in paragraph F(ii) of this
                       Agreement as h.ving full mmagedill "lI1hority and IIIspollsibility for the apm.ting ill3il!gement of the
                       Dealer ot' to the Dealer at the Dealer'! principal place ofbllSinesa as described herein.


                       IN WITNESS WHEREOf the parties ru"ve duly executed this Agtel:ment in triplicate 11$ of the day and
              year   rnot sbove writhm.
                                                                             AVl'ac.t'ORES GALINOO scx:IIDAD Aa."nU.1I1".
              FORD MOTOR COMPANY                                              QLINPO            A.


                                                                        By HUGO
                                                                        cNl'EPAN

                                                                        Tille EXECUTiVE      PUSID~
                                                                                        (lYP!!) TITLE)




                                                                     (v)




                                                                                                     **   TOTAL ~E.05 **
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                      EXHIBIT C
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                                         Ford Motor Company




                                Global Importer Dealer
                        Sales and Service Agreement
                            Standard Provisions
                 ",




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                                                             Standard Provisions


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                    (a) Principlll and Agcn!... ..... .-....................... 10               18 DISPOSITION OF TilE DEAI.ElrS
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                                                               GCOnAL IMPORTER DEAUW.
                                                             SALES AND SERVICE AGU.EEMENT
     's                                                          STANDARJ) l'nOVISIONS
    \jill            I'
    I;e,,,
                     /I           1111 FINITIONS

                                       As useo herein, the following lcnlls shall hav.: the lollowing meanings, respectively:
                /1

               Ia               lit   "Amliale" shall mean any company or other business entity in which the Company or allY
                                      suhsidiary of the Company directly or indirectly owns or controls more than twenty percent
               1.\
                                      (20%) of the voting stock or equity capilal.

                                Ii"   "Cumpany Products" shall mean slleh of the following as Illay be offered in writing lor sale /i'om
    ..... I~                          lillie tn tillle by the CUiupany IJI' i\ rriliale III the Dcaler lilf resale IIl11ler Ihc lerms anti conditiuns
                                      uf Ihis Agreement:
    .... ")
    .... I')                          (I)       such lincs, series und/or models of new vehicles as IIrc dcsigmlled from lime to tillle hy
                                                till: COlllpany til Ihe De(llcr (he.'einufler called "CutnpilllY Vehicles"),
    ... 11)
                                      (2)       Ilew paris and accessories and remanufaclured parts lor Company Vehicles mode or
                                                rell1.lI1untelllred by Ilr 1{Ir Ille Cumpany (hereinafler called "Genuine I'arls"), and
      /1)

                                      (3)       other products specil'tcd by the Cumpany Ii'om tillle to time.

                                      The lines, series and/or 1Il0deis ul' Company Vehicles and other Company Products inilially so
                                      designated by the Company pur511untto this paragraph I(b) are set forlh in Allachment I.

                           (~)        "Dealer's Localily" shall mean Ihe geog'lIl>hicai areu designated in writing to Ihe D.:aler by the
                                      Cumpany from timc to lim.: as the urea of tlte Dealer's sales lllld service responsibility f()/'
                                      Company Pl'llduets. '1111: initial Dealer Locality is sct forth in Allachment 2.

                          (d)         "Dealer Price" .shull mean, Wilh respect 10 eaeh Company Product 10 which it relers, the pri.:c lu
                                      Ihe Dealer lor such product, as from tillle to time is eSlablished by the ('ompilllY ur Alliliille,
                                      he/,'re deduction Ill' any cash or olher discoullt i1pplicahlc Iherelo. It Shill/llot include illly iU1I1I11I1I
                                      ill Ihe lIalilr.: uf a pll'lldl\'ny H' IIlh... IlIlhll';lI"k ""1""alllr .·haIT.•·• allY ,·ltaq;.' hy 111,,« '''lIIl'aIlY H'
                                      Aflilialc lill' uislribuliulI, delivery or Iux!:s III' illly ulher clmrge lill'speciill ilems III' services.

                          (I"         "SlaI"lilnl:; Millillal" ~hall lIIeali lite lalesl «iluhal IlIIporler I )eak,. Siamlan!:; Mallual mid

            I                         illlIelllhncnts Iherelll estilblished by Ihc CUllljlilllY illld furnished 10 Ihe Deiller. The Slillidilrds
                                      f...lullual will lid forth lhe UJ'llcrilig procedures, Deiller sales and service performance criteria
                                      including Ihe l)eiller's Ih:sPlllISilJilitics, and othe/' items appliellule 10 Ihl! sale, service iIIlLI

            I                         disll'ihutiun of Cumpany I'rodllct~, whit:h nlily h.: changed or revised Ii'olll lime III lilile by the
                                      CUllrpany.
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             2.     RI~SPONSIIlILITY         WITI! lH.<)I'ECT TO ('OI\lI'ANY I'IWIHI( 'TS

             (a)         Imlll/rlatit/ll and Sl1lc,~, The Den leI' ~hall vig()rotl~ly :Jlld rC~(lurccfu"y proll1olc alld ~"li\'il'
                         sale  or Co 111 1':1 l1y I'rodut'ls ill lilt' I )e,lkr's Localily :llld :du1l1 cllcrgclically ("'veiop Ill\' !'pkll:
                         for stich sales nlld ,,"I;till n':t~PIl:lhl(' ~":IIT.~ litc'l('pl' ii, \'oltlll\t'S 11t:11 arc salisl:rrlOlY IIII'
                         ('Olllp;lny,                                                                                                                   (.


                         (I)      Tlte Dcnkr's I'CrfOrIll:lIIl'e of its :;;lIcs ITsl"lIl,il'               " ('ll1l1p:lny l'w<lll('ls ·;"ail i.
                                  IlIcaslII'('{1 hy siwh 1t':\sltn:IJ,!c nikli:1 as llic' ('OlllP:IIlY 111:1)' develop rroll1lilllC to Ililll:,,'\' ,
                                  sci forth in the Standards Mal1l1:d, The COl11pany will provide to the l)coil," ,
                                  cV;lluatioll of its performance ull<irr this paragraph 2(a) (I'<Jlll time 10 time in al'Clllti;l1l
                                  wilh the Stal1dnrd,~ Manual. Th(' foregoing shall not limil Ihe Dealer's righl I,) lid
                                  sales outside the l1ealcl's Locality, Ilmvcvcr, sales Ill' Company I'rodllcts for relall ""
                                  Oeet by the Dealer Illay only be made to persons intcnding 10 usc the Company PlOdl!t1
                                  within the Deal~r's country and not ror expor!.

                         (2)      Tn Ihis end, the Dealer shall develop, mainlnin alld dircrl a trained, quality ,air '
                                  organization ami shall conduct cnergelic advertising and sales plol1lotioll aelil ilir
                                  making lise to a reasonable cxlcnt or stich adverlising, sales proll1f1lioll "",I
                                  nH'reitantlising nmlerial of Ihe Company as may be made available to Ihe Deall'l Ii"",
                                  timc to time. The Dealer is aulhorized and herehy agrees In import alld seli Co III 1""1'
                                  Products oilly to relail alld neet CtlSIOll1ers (i.C'" clislolllClS ""ying for Iheir own u"\, "nd
                                  not for resale), Company authorized dealers in Conlpany Prodlll:ls, and in Ihe ra'l' ,·1
                                  Genuine Parts, the Dealer is also aUlhorizcd 10 sellin wIHl.lesa" l'uslolllcrs

                         (J)      Tire Ileakr shall he rcsp()n~ihlc for lite importation or COlllpany l'roduc(s ineinriilll! 111)1
                                  Ilot limited to paymcnt or all applicahle laxes, dutics and fees and olliaillllleni "I' ,,1-..
                                  applicahle liccnses, ,,"arances and rnliflr;ltrs relnlill)', In ('ItSlnll1", vchicle l;olllnl"I~:ili\"1
                                  ;llld lilrrign nc!I'IIl!'.t'.


             (IJ)        Orders. To enable the Company to schedule production efficiently, the Dealer shall furnish c<Ieh
                         month, on Ihe date or datcs and in the manner designated by (he COl11pany, an ordcr or orders 1"'1
                         Company Producls that (he Dealer will purchase during slich subsequent months as shall he
                         designated by the Company and in connection therewith, or sepmatcly, as rc<]u('slcd hy Ihr
                         Company, estimates of Ihe Dealer's requirements for COl11pany Products for sllch succccdin~
                    \.   months as the Company rrol11 lime to lime lTlay request. Each order slwll indicate Ihe quanlil.\',
                       , models, specifications and desired time of shipmcnt of Company I'rodllct~, and each COlllpan),
                         Vehicle order shall include any available optional equipment which may be required until'!
                         applicable mOlor vehicle laws and regulations in the Dcakr's Locality and. as the case may he. 10
                         permit the importation and sale or Company Vehicles therein. Each such order or eslilliaic also
                         shall be placed in accordance with the requirements fixed from time to time by the COillpal1Y as
                         to the minimum or mnxil1lllt11nlllllber of Company Products that may he ordered at any QUC limr
                         by the Dealer.

             (e)         Considcmtion of Orders, The Company or Affiliate shall give cm'efill eOllsidcralion 10 "II
                         orders received from the Dealer Ihat nrc submitted in accnrcl;lIlce with paragraph 2(b) ;1Ilt! shall
                         make rC:lsonable erforts 10 fill each order of the Dealer thai is accepted by it, but the COlllpany
                         expressly reserves, and the Affiliates shall have at Ihe COIllP:lI1Y'S direction, Ihe righl In til'l':1I1
                         from well orders in (he evenl of changes in, or l:rrk of nvnilahility or, standard or opliolt;ll
                         equipmcnt. The Compnny and Arriiintcs shall not incur any liability or obligation to the lleakl
                         for any failure 10 ship or for delay in shipment of accepled orders Cor CompallY Producls wJim
                         such failure or delay is due wholly or in part tn any:

                                                                              2
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                                                                                                                                                                     ,~   ((
                                                                                                                                                                     7
                                   II)     shortage or curtailmenl of' nlUleriul, lahor, transportation or ulility services;

         II.: jI"I.
                                   (1)     labor 01' prodllctlllll Jifflculty in any or ils own or any of its suppliers' locatiolls;

                                   (.I)    governmcntal action;

                                  (,I)     UUVl!rse change ill thl! Dealer's credil standing if paymcnt liJr the onkr is not to he
                                           maul! by cash belore ,kliv.:ry or conllrmcu, itTevoc,lhlc letter of .:redit as provi,kd in
                                           paragraph 8(h)(i) or 8(b)(ii), respeclively; or

                                  (5)      cause beyond the        COlllIHIIlY'S   control.

                                  !luring ally period of shortagc of any Company Vehiclc, the COlllpany, or Afliliatc at lhe
                                  ('ompany's direction, shall he cntitled to givc priority to those orders of Company Vchieh:s /ill'
                                  resalc to customcrs who have specifically ordered thcm li'olllthe Dealer.
     y     ~.,lfI
    II \'1111",
                                  Stucks. The Dealer shall maintain stocks or current ll1odels, lines, series und/or types of
    II         IIU./
                                  ('umpuny Prodllcts of an assortmcnt and ill quantities as are adequate, as lIlay be dcsignated in
    I'/i""1                       Ihl! Standards Manual or otherwise by the Company, to meet the Dealer's share of current and
    npil/I}'
                                  <lI1ticipated demand for Company Products in the Dealer's Loclliity, and to 1'\111111 its sales and
    'I.: II/hi
                                  service responsibilities under this Agreement subject to the Company filling the Dealer's orders
    St
                                  IlIercfor.

                              UClllulIstralu,'s and Scnicc Loallers. The Dealer shall keep awrilahle at all times in guod
                              condition and running ordcr lilr demonslration ,llld service plIrpos.:s slieh nlllllbl:r of new
                              ('ulllpnny Vchiclc5 of Ihl! latest nwdd y.:ar as n::comlllcnded by the Company in the Standards
                              Mauual UI oll ... r\Vi~:", hili ill allY ,'v,:111 lIul kss Ihall 011\; ('ullipOIny VL'hicle,

                              Oml{'f Lilnatllfl', Th,' l>Ca"'r shall dcliver to cach rct;liI cIIshlll1er plIreh:lsing a Cumpany
    .t.                       I'wl/lld allY IIlOlteriab, ill.;(udillg Warrallty /looklcls alld ( )Wllcr (;uides, Ih"t the ( '(IIII[1allY lIIay
                              rellilest he lillnishctllo retail,ltlldlasers ill slldl lillill as lIIay thcll clirrellily he ill ertccl.

                              AlluWlllICCS, The CUlllpany may 11'0111 tilllc to limc, in its sule dlscrcliun, provide tu Ihe lkakr
                              cl!rtain allowances on ('ompany ProdliclS slIiJjl!d to conditions and procedures as spl:elJkd hy
                              tltt: Company 110m Jillll: tn time.

                       Ih)    Warr:lll1y. The Company shall 11'0111 time to lilllC inform authorized dealers ill COllipallY
                              Produets ill writing         or
                                                     Ihl: warranty, if any, aflpli~ahlc to caeh ncw Company Prmillet and slich
                              wananty shall ex/clld either:

                             (i)          ti'cUll the Company to Ihe i kaler IIpUII thl! sale of each ('oil1pany Product to the Ikakl,
                 1                        ill wlllch evcnt the Ikah:r shall, Oll ib own bdwll: exteml its own corresponding
                                          warranly to lh,: pur.;h.,scr of cach ( 'ollipany l'rodllcl li'OIlI Ihe I >Calcl; 01
                 /
                             (2)          /i'om the CUllipany and Ihe Dealer to eaeh Jlurchast:r of each COlllflany Prodlici nUill the
                j                         I k;dcr, ill whit'h {'v"111 Ih,: I >Cain shall illLlllde such warranty in the limn and conh:nl
                                          "p(','dinl hy IIII' I 'OIlIP,IIIY III ,'adl a/:Il"'III1'lIt li'l 1/11' sak of ,'al'h ( '01111'0111)' 1'/1,,11 ... ' 10 a
                                          cllstoiller, alld ill Ihe case of a ( 'oilipany V<.:hicJl!, fllrilish a copy to Ihc ';II~lollll'l "1'011

         JI                               dL'lIWIY oi'slh.:h ('OIIIP;IIIY Vchick.



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                                                                                                                                                                                  1\)
                              li\lI'I.IJo:Il WAnIL\NT\', ('ONIIITION OJ( C\lAIL\NTI'Y WIlli m(SI'I':( T !Ollll)
                              !'IWIlII( T on ANY !'AUT '1'111<111';(11', AND '!'IH'ItE .'III A 1.1. 111<: NO 01111,
                              WArWANT\, INCLUDIN(; ANY 1M I'Ll I,;!) WAHHANTY OF I\II':U('IIANTABILlI\ II
                              FITNESS FOIt A I'!\I!TI<'UI.'\I! I'IIHI'OSI<:, 01 :111\ oil" I "ldil~:lIi"ll of' IIie I 'OIIlI'HII I
                              Alfdlaic:, Itl Iill' Ik;ill'I 01 Ihl' ClI:,ltllI"'1 willi Il'Sl'lTllo :Ill\' I 'PIIiI",Hy I'lodllCI 01 :Ill)' 1';111111<'"
                              The issuance, administralion and pcrJ(lIl11,1I1Ce                    or
                                                                                                  SlIt'h W;!ll:lIll)' and            or
                                                                                                                                  claims Ihl'l"'I"I'!'
                              including Ihe lise       or  (1cnlline Pa:s ,\:It! I"" klTping or re('(}lds. s":tll he as sci l'''IliI Ill'
                              COI11I',lllY'S Ihen cllrrcnt \Vnrranly and Poli,.'\' 1\1:\1111:11 alld \,IIPI'!cn1l'IlI,d i,,,lnlclions,1 "e I h '
                                                                                                                                                                                    f,
                              shall I[lilill I'romplly all or its f('spcelivc ohligalions undlT s\lch W:1I1;1I1Iy and I'olicy 1\1:1';'
                              ,lilt! supplell1cntal inslructions,

             (i)             ('us/PlIlcr J)(·JlO$it$. The Dealer shall lise all rellsonllhlc crfill'ls In sal' gll;1I'(1 carh lil-posil "I,'"
                             or pl\>perly. and nlly pro('eeds ilwrcli'(\III, received fi-'lI11 a Cw;IOlllCr ill ~llticil'nlioi1 01':\ 111111'
                             delil'ery or a COll1pany Vehicle Ilillil sllch delivery i'; (,(lIlSlIII11ll11t{'d or IIlIlil such dl'po',il'; ;I'
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                             Iclill'llli·;hed 10 II\(' ('(lIl1j1l1IlY 01 /\ffilial<: allll<' ('11111j11111\' (II ;\llili;II<",: "''I"':SI.



             :I_ HESI'O;';SI BlLlTY WITII HESI'E( T TO SmtVln:

                             (;('IH'r:il,   The Ikakr shall Ih-vclop, lIlaililaili alld dinTI a Irained. ('0111111'11'111 :;!'Il'lrr 011\:111;/"1'", \
                             all.! ~"alllclld('l        1'1'<11111'1, I'mlt'SSlllIlal. l'1I1I1Ii'IIIIS alld willil1g "'Ivire nil all ('lIlIIl'any 1'1<"1,,,,
                             prcscnkd 10 ils place of busilless /'or stich pmposc (illcllldin)! all ('ollll'llny 1'111<111('15 PIIICIc,I"(':
                             1i"1I1II allnll:cr COIllP'lIlY :1IIIhor;7.('<I SOIllC") ill accordallc,' "'ilh snrh sl:lIltialds al1d proccdlllr'.:1
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                             Ilia\, h,' 1'::I:lhlished b\ Ihl' ('!)I1I1>:III\' lil1ll1lillll' I.. :ill"- ill lilt' SI:llld;lllk 1\\;11111111 111111111'1\\ i,,,', :,,'"
                             ill ;1\'1'.,1<1,,1\('1' \lilh ::11 :ll'l'lind,k 11I\\!01 vdlll'k law,; and 1I'"llh:IIlIlS ill dk('1 ill Ihe 1L:d'I' J
                             l.ocal ily.

             (\1)            l'reticlinTY Inspeclioll a III I ('nllllili()nin~, The Dealer shall inspcci 'Illtl condilion each                                lit""

                             COl1lpany Vehicle berorc delivery to n relail clIstomer in aCl.'orciance with schedules                                          illid
                             ;n~!rucliol1s lilrnished rrom lillie In time hy Ihe COl1lpany,


             (c)               \Varranly, I'ulie)" C:1l11paign, Hccall aIHI Program Senic\'. The Dealer shall perforlll ::11
                    ,          warranty anti policy servicc on ench COl1lpany Product presented to ils plnce (If business 1,,1
                        \
                               service ill (lccnrdancc with the applicahle warranly and policy and Ihe- pn1l'isions   Ihe Wall;JIlI\'         nr
                            '" ~nd Policy i\lullual or other Company inslmclions. 1\11 It'pairs paid for or reimhursed hI' Iii<'
                               Company (e.g. warranly. ('ncr l1otific,llioll prngrnms ele.) shall he perforl1lcd al Ihe I k:Jil'l" 'lJ
                               SulHkalcr's aulhorized premises IInless prilll' WI illell consent h1l5 hel'n ohlained fi 0111 Ihe
                               Company. The Dealer sllall also

                             (I)        perform campaign. r('cflll and progrmn service for owners and Ilsers (if ('0I1IP:ll1)'
                                        i'n,dllcls as Illay he specificd in c~Jl1pai~:Il, recall Ill' I'logr;1111 illl:lllICti(1lls isslled hy Ihl'
                                        COIl1P:IIlY [i-om lill1e 10 tillle Of conlaincd ill Ihe Warranly alld Pnlicy 1I1all1l1l1 alld
                                        supplemental instructions;

                             (2)       \:ubll1it c1nil11s 10 Ihe ('(lIlIpan)' ttll Icil1lh!lJ~clllt'nt for the pal t~ and !:I hOI liS", I 111
                                       perrr,rllling warranty, policy, ca\1lpaign, recall :Ind progralll sCII'icc and lhe ('OII1I':JIl\'
                                       shall reiJl1b\lr~e the Dealer in accordance with the provisions of thc Wmnnty alit! Polin
                                       l\lallual or olher Company instlllctions;

                             OJ        main lain adequale record,~ ,mel docliments supporling slich claims ill accordance \IIII! Iii,
                                       prOl'isions or (he Warranty and Policy Manual or olher ('OI11P,lII), ill '!I IlcliollS; allrl

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     ;X I'IW,s,s OJ
     .''1' TO '1'1/ II                             (4)      promptly report to lilt; Company and seek tht: (;ul11pany'~ ussist,ulce witli respcct to any
        NO ()'I'IHH                                         warranty, policy, campaign, reeallor progmlll servit:c work whit:h c:lIlnol be pCrllH'l1ll:d
    '\IlILlll' OM                                           lolhe owner's or lkakr's salislat.:lio/l,
      COIllP'/lI) "
    Y jJiII! I/ll·I,·., '              .II         Genuine I'lIrts. The Dealer shall lise only Genuine Paris in performing warranly, policy,
    s !hCI<'III1./n                                ~illilpaign, ret:all and program ~ervice, excepl as othcrwbe provided ill lhc Warranly and I'olicy
     li>rlll III I/I~                              MallllUl, ill cmnpllign or program instructions or in olhcr Company lilerulure. The Dealt.:r shall
    . The /)l';J/r,                                not sell or offer for sale or use in Ihe repair of llny Company Vehicle, any pari Ihat is nol a
     liey II/allll .• ,                            (icllilinc l'ilrl cxccpl as olhenvisc I~rovidcd in lhe Warranly and Policy Maill/ill.

                                   ,.j            IVlaiulenllncc aud RCl'alr Servicc. Thl: Ikaler shall perlllrlll all olher mainlenance and repair
    osil of (',,,,,                               services, including, where feasible, body rcpair services, n:asonably relluired by owners anti
    0(" lilil/J~                                  uscrs of Company Producls.
    :po,,/s .111'
                                   01'1           Service Tools alld l~lJlliJllllcnt. The Dealer shall acquire Ii'om Ihe Company or a Company-
                                                  approved supplier wilhin a commercially n:asonuble lime, and shall rnailllilin for use in Ihe
                                                  Dealer's business in Company Products such diagnostic equipmenl and other lools, equipmcnl,
                                                  machinery, manuals, calalogs and lechnical suppurl systems as designated by Ihe Company in
                                                  Ille Standards Manual as an: n.:ccssary In meetlhe Dealer's service responsibililies hereunder.
    JniZ"II""
    P", . 1\'1\
    IrL, ..•.     w"              ·1.1!J!:SI'ONSIBlLlTY WITU HESl'ltC'f TO I'LACI£(S) OF BUSINESS AND FACII.ITIES
    ""t'.~          .1'
    1St', ;111.1                                  Locatiull mill Facilities. The Dealer shalll:slablish and maintain de;dership faeililies al a place
    kit/n'                                        or placcs of husiness appl'tlved in writing hy the COl11pany Ihilt arc of satistilctllry appear.mee alld
                                                  1I100J.:ln cOlllliliull alld ;1li.:'1l1all· to 1I11:l:\ Ilu: Ikakr's responsibilities IIlIder 'this i\gn;ellll:llt. Thl:
                                                  d..:alcrship !ileililics, in,;luding 1111 land areas, lIuilding and improvements, shall be ~ub~lmlti"lIy
    fa     IIl'II                                 ill nceonlanec wilh lh.: gnid&:s eslahli~hcd hy the COlllpany frolll lime 10 time including. hUI nol
    S      ;11,,1                                 lilllill:d to, the guides s<!t filrlh ill the Stalldards Mallllai.

                                 Ih)               Changes, Addiliulls 1Il1l1 I':xclllsive lise. The 1)(;"ler shall nol move or suiJstalllially mudi(y 01
    II     ,1/1                                   change the IIsage or allY placl: ur piac<!s ur husiness or ils d..:alcrship lilcililics fur ('''lllpaIlY
    ~     In.                                      Producls approved by Ihc COlllpany, nor shalllhc Ikal<!ror <Illy pcrsolillaillcd in paragrajlh~ F(i)
    ;l/liI
                                                  ur FOi) direclly or indif<!elly establish or "pefille ill whole or ill pari nny other place or places of
         Ih.'                                     husiness or d&:alcl'ship lilcililics fill' the sale or service or ('olllpallY Producls, or the sale Ilt'us.:d
                                                   vehidcs without the prior wrillell conscnl or Ihe ('olllpaIlY. The De.der agrees Ihal its place III
                                                  placcs or husincss <Ind dealcr~hiJl lilcililics will he IIscd excilisively 10 conduct the I>euler\
                                                  bllsim!ss in COllljluny Protlucls, including the sale ur used vehicles lukell in ltade !i'onl
                                                  ':lIslolllcrs. ullkss ulhenvise agn'cd hy Ihe ('OIllPilIIY ill wriling.
    II).

    "\'
                                t()               lIullrs ut' Bllsiness. The Dl!aicl' shull keep such place or places of business opell liJr husiness
    hi                    I
                                                  during all hours and days which lire cuslolllary alld lawful in Ihe mol or Irade in Ihe Dealer's

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                                                  I.ocality,

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                          I     S. (IT/11m HESI'ONSIHII.ITIES
                          J                  '\
             "
                                Iii)              !{~!lns. '1'1,,; I kaler shall p"rchase, erecl alld lIlainlilin signs uf goud appearancc adcquate 10
                                                  idcnlify its place or phlce:) of husiness as an aUlhorized sales alld service cslahlbl1l11l;nl in
                                                  acconlllilee willi the Ikalcrship "":lIliliealioli Agreelllelit to he e.xt:clIlcd helIVl.:ell Ihe I kakr alld
                                                  the (:ullipaIlY. Tht: Dealer agrcl'~ III purchase such signs Ihull Company approved suppliers.
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                        l'nwllul'I. I Ill' I kakr ';hall "'lIplo\' al1d 11:1111 a :;11111' i,'lIi 1111111111'1 III rulllpelrill I'I'I';PIIIII \
                       gllnd ,!':lIarfn IIlcilldil1g, 11'111111111 lilllil:ltloll, ll1all:lgn:;, :;aks 1,,'rsOIlI1I'I. 1':lIts PCISI11111rl. 0,,,                   !
                       II"lil<T!: ;111<1 servin' tl'chllici;I1IS til filifill all"l'th,' Ikaln's n'!'plIll':ihiliIIl'S IIIHkr this A,!"'''"1 !
                       as ,it:snihl'd ill the Stal1dards IIlal1l1:,f, :11111 :;h:dl ":lIh" ''111,.11 11I'1~:"11/Jt'1 III allClld :;lIl'It I,,,,,, ;
                       p'\\gr:II11S (incilldilig allY New I k:tlu Tlaillillg S'~II,i":II' a~ tit .. ('(111'1"111), may dl'sigll:'''' h •
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              (r)      U(,lIll": l~l'sillcl1l:l', Effective ol~ct:ltion nrllll.'lkakl's hllSil1l'sS is ~kJ'l'lIdclit il1l:lIg~ p:UIIII!'
                                                                                                                                                                                             I'
                       Deaicrs nlallngcl11cnl IlI:COIIIIIIg a p:llt 01 nnd aCl'l'I'il'd IVllhlll thl' Ik:tln s I (I':li>'
                       t\cl'llnlil1gly. il is cxpcc.ll'd thai l::teh person nalllcd in panlgt:iph I'(ii) shall rcside \\'ithlll ,;                                       i                   ii:
                       Ikaler's f.oralily,                                                                       .                                                       \

              (til     ("lJlilal, Thl' I kaler ~hall at all lil11l'S "1111'10)' ill ,'(llllllTIIOI1 \\'illt Ihe I kalel's                           """"fl"" , \                 ,,'
                       ('OI11P"I1), I'lOdlll;ls sIIch l"r'l 1II1'eSlllll'I11, 111.'1 \\'111 kill)! Glpilal, a'"""II,,k lilll's of 1:1('1111"
                       l'(lfl1l'l'Iili\'1' 1'<:I:1il :fIlei \\'hokl'~k fin:lI1cil1g r"r ('OIllP:!II), V.'hirks, a,< a 1'(' in nC'l'",dan'T \' ",                         I
                       ('01111'''"Y slandards ns. cn'111111ll,irale" to till' Ik"ln 1i1111llillll'IfI lim .. ,",,1 will I'IIahk Ih .. Ik;,I, \'
                       10/111'<'1 ils sa"",, "lid s!'rvin' It'splllIsihilili,':: II11dn Ihi" A!!II'l'IIIl'1t1.


                        Aecllunting ~:, ,,'III, Thl' h,.,i:t:1 shall inslall and lise ill til(' Ikalrr's 11IISilll'sS ill ('111111','''' \
                        i'lo(hwls ,",,1 liSt'" IThit''''s an '1I"'Il""li"),, """it'll' in :It'l'llld"",',, 1\'111. C'UI1lI':IIl\' 111:1,,",.1 ,,' \
                       :11 ('11111111111' I" 'II'", 111ft'" 1111 it:; "II II IlIl 1/".1 .1(':01"1'; ," ':11..1, IIthl'l },I",klll""; as 111:1)' hI' 1'11"'1,10" I,',
                       Illl' ('omp:IIlY 10 lite J)enll'r I'rolll lillll' to lilllc, SIIch syslcm shall Ill' I,til'ell 1'1 inrily ill II,,,, 11\ II"
                       Dcaler hili slt;;\ll101 he ('xrlllsiVl' til' :lIIy 1,11t.'r sysll'fll Ih" 1),';''''1 /1Iay ,!.-"iIT 10 IIS(',                                 \
                                                                                                                                                                             I
              ( f)    ('UlIlIllllllir:ltiIlIIS, To achieve: the highe::1 sl:III<I:II'Ils III Ctllllllllllli'alltlll and Itl promoll' ellil 11'1\",                           l
                      and Ihl' IISl' "fellln'I,t hThll"I"gy 1011lcel II:lining antll'lhn 11I"'''S, " " ('OIllP:lI1Y l11ay lilllnll"'"
                      III lillie unclnp and l11:1il1lail1 progntlns dcsigl1l'd 10 illlpron' ("'I1IIIIIIII:('aliol1 and Ihl' cxl'l,;",), .. ,,!
                      inf;lflllati(lIl I1rll\'('(,11 the ('mlljlany, ils Aniliates, a"d IllI" lleakl. The 1)(-:,,,,1' agIlT'I"
                                                                                                                                                                                                  \
                      I'~rlicipalc ill stich prll!,!ralllS as ('stahlifl:ed hy Ihe ('OIllP;lIlY ""d make npprnpriale p,"rI:a~("
                      where f'('quirl'tI hy the C"ll~p:tn)', In 'Hl;'ililln, lite COlllpany shall prm'idc 10 the lk;t1('1 l,(,llaili
                      1II:,!(;rials lIecessary l(lI'lhc i sale :1Ilt! service nl'Colllpal1), I'rodl1els. The !kakr ;l~rccs 11\ I'"V all
                      ;Ipplicahh: chalgcs ror Ihes(' malerials itirlltillnl hy Ihc ('(11111':111,1',

              (g)    '" Hl'Jl()J'I.~, The Draier shall rurnish ICI            the Company:

                      (I)         ellmplc:e, acclllale and 11'111' slalellll'llls of Ihe financial (;Oilllililitl rind mlln", and )T:J"ln
                                  dale npcralillg n's"I" 01' Ih" Ikakr',; h\l~inl'ss in ('OIllP:lIlY Plod",'!.< and II~C" IThid", al
                                  Ihl' tillll'!: alld ill Ihe IIIlIIlIII'r pll'sn ih"tJ hy II", ( '1lIllP:If1V: :lIlti
                                                                                                                                                                                       ,
                                                                                                                                                                                       --'
                      (2)         sllch sa"'s and otlil'r rql(lrts. jllclllllilll! wilh",,1 limilatinn, s(ln:ific <I;lily s:lk~ 11:11:1,:1'; till'
                                  ('OIllP:II1Y I'm", tillle 10 lillw lIlay Il'll'lile,

              All slIch statements ami reporls rurni:;herl pursuant.ln paragraphs 5(g)( 1) and 5(g)(2) ahove slmll he
              based whenevC\' npl'!ieahlc Ilpol11h(' ncwlIllting syslCIII rl'fhred 10 ill paragraph "(e) ahovl'.




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    I
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                                                                                                                                                                                61
                                             ,.    Customer Handliug. Success in the marketplace depends 011 the ability or the Dculcr to providc
         I'el",olllld ,:                           al]uality sales a/lt! service experience to thl! customer. The Dealer must, based on the progrums
     '1lIld,SI""          .                        dcvclllJlcd by Ihe (:llll"lpaIlY as describcd in th~ Standards Malllwi or uthcrwisc, induulIIg
     ;"/;/""\'"h',;                                cOlllplianec with cll~t\)nlCr salisfm:tioll stilndards mloph:d lJy the Comp,IIlY, "nd based on
    licit 11';111111,.                             standards, training and programs devdoped by the Dealer, use its best e/lorts til achieve eilch
    ;'gll,l/c Ii"".                                custom~I's compl<:te satislaction with respect to Company Products, including sales, scrvice,
                                                   wmTanty fulfillment and any olhcr matter related to customer satisfllction of Company Pruducts,

     1'111"1 (III   II"
                          .        ;
                                                   The Company will pruvide to Ihc Deliler iln evalulltion of its performllnce under this pllragraph
                                                   5(h) Ii'om time to time ill aeconlal1cc with the Standllrds Manual. In addition, the Deuler shall
          Loeallh                                  not make directly or indirectly !lny false or misleading statement ur rc::presentation to II customer
    wil/II/I 1/'1"                                 as to any Company Product, us to its source, condition or Cal)ubilities, lIS to Ihe prices ur charges
                                                   or as to charges lor distribution, delivery, taxes or other items,

    liilll"~S III                      III         lIusiuess I'racliccs and Allvcrlbing, Till': Dca IeI' :;hall contlllci bll~ine~s in a nlalilier 111iI1 will
    'c,Iil alltl                                   relleet tavorably at all times on the good name and reputation of the Dealer, the Company, ils
     Icc 11"/,,                                   Affiliates, Company Prouucls and other dealers ill Company Producls, the tmdcmarks and trade
    ~ DCII/,',                                    mlilles used or claimcd by Ihe Company ur its Afliliulcs, and shun ilvoid in every way lilly
                                                  deceptive, misleading, confusing or iIlegul advertising or business practice lind withdraw ;1I1Y
                                                  such advertising or promotion lI)lon being notified by the Company that it does not comply wilh
    lI11p.lIl)                                    the obligations of this paragraph 5(i), The Dealer shall become a member of the Ildvcrtising or
    :lals III                                     similar dealer cooperative Iissociution, whieh muy be managed hy Ihe Com pliny, when initiated,
    lied Ii>                                      us described in the Standards Manual or othcrwise by the Company, and pay all applicable
    hy .. ·..                                     charges associated with such membership.

                                   Ul             Compliallce with LIIWS, Uulcs aud UegllJatiolls. The Dealer shall comply wilh all applicllhle
    ICIII:.\'                                     laws, rules and regulations in the ordering, SilJeS lind service of Company Producls Dml the salt:
     lilil l    '             ..                  and service of used vehicles, including without limitation, those rdatcd to imporlalilln
   !:e '"                                         procedures, foreign exchange transaclions, vehicle homologation certification, motor vehicle
    S III                                         saft:ty, emissions control and cllstomer scrvice.
   i!Sl·.'"
   '/;1111
   '011/                       b. 1'lInCIIASI<:S li'IWM OTlllmS ANI) SAI.I~S TO OTIIEItS

                                                  ('lIl11l':lUY Sail'S. Thl' (\III1I':lny :Ind Afliliall's rl'Sl'I"Vl' Ihe rilthl 11l111i1k,: lhl!cS Illlllh.:rs illdllliing,
                                                  without linlttatillll, utlll:r dealers, Imtilllmi nlill IIIl:al guvcfIllllcllls, ur allY "cpartlnenl~ Ihereof,
                                                  Icasing clllllpanies, rental cOl11panics, hUlly-huilders. tnuilinatilllmi companies or chariluhl.:
   II
                                                  JIIstilutiulls wilhnllt liahilily .. f allY kllill In till' lk:licf. The Ikilkr shall hUll liver III t!al'
   :1/                                            ('uillpany, whcn rClJuestcd hy Ihe CumpallY, illlillirics Ill' unlcrs rcceived hy til.: I >cal.:r lillln Ihc
                                                  governmcnlof any clllllliry or ;IIlY pulitic,,1 suhdivisiun thercuJ: or allY departmelll Ihereuf, rCI1I,,1
                                                  cllmpanit:s ur eharitllble institlililllls. The (~ol11pany shall have no obligation to pay til the Dca!.:r
                                                  any cOlllmissioll, rellllllll!l"atioll or c1wrge IiiI' hanilling with respect 10 any inqllirics or orders so
                                                  IlIllICd over hy the Dealer, unless:

                                                  (I)       such illl}uiries ur orders n.:sult in II salc; and

                                                  (2)       the De:"er IIgrc.:s til pruvide lind dues providc lill' the ('omp:IIlY Products snld pursuant
                                                            to such inquiries or orders prcdclivery inspcctioll and conditioning, Wllfnlllty, policy,
                                                            clIlllpiligillind prugl1llll and after-sille service 011 Ihe SHll1e basis as re(luircd with respect
                                                            III CnlllpmlY Pmduels solJ by thc Denier undcr this Agreemcnt.
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                                                                     I Page 40 of 97
                                                                                                                                                               !
                    '11)(' a 11101111 I of allY COlllllli';':lflll, n'lIltJlll'I:llillll or ..!1;llft' l':tid 10 1111' Ileakr \\'ilh 1("111'1 I
                    ill'lllilic'; or ori/cls </uali(yil1g IIlldl'l 11K' prc('nling ';cnkll("t' shall be ddcllllilH'd hy lile (' PI1I I"
                                                                                                                                                               II
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                    III ih sple discrelioll,                                                                                                                    i

             (b)   ~nlcs of (',Olllpclitivc I'rodllcf.~,Thl' Ilr;lil'r                 n::rl'('~,
                                                                                  1101 10 l'ngag'" ill al,lY l1Iannt'r, direrlil \
                   Indlreclly, IIllhe ~alc         or:IIlY
                                                        molor ITlliCk 01 IlIlrgtal palls Ihnt'ol or il('l;CSSIlIIl": 101" I
                                                             IlCII
                   Iherewith which arc C(llllpcli!ivl' with ('01111'0111), I'rodll('ls IIllkss the 1'1 illl wrilll'n <:oI1s['I11 "Iii                                i                t   I

                   ('olllpall)' is nIJlained,                                                                                                                        \


            7, DJo;TEI{I\IINATION OF MAHI{KI' 1tJ.:I'lmSVNTATHIN

            (a)     AppninlJIIl'ul of' Dealers, TIl<' ('olllp:!n)' ICSI'I VI'S lit" righl 10 dl'1lTlIIill!' rrolll lilll(' til til1l<' '11"
                   hl'st jlldgnlcl1l Ihc IllIl11bcIS, .. 1c;)liolls ;lIld SiZl'S or :lIltilori7.cd l/(oakrs IlI'('('ssHry till' pi "1"'1 ;tll,1
                   salisfaelory sales "lid sCI'I'icr n'pll'sl'lllalioti till ClIIllP''''.\' I'I00hll'Is wilhin alld w"ltn"l Ih,
                    llt-aIIT's I,"'alil\" :IIld In ;ll'l'lIilll :ldditio,,;tI ,I.'ak", ill 1'''1111':11'', 1'1".1<" t" 1I'111ti" III \,itlt""III.,
                   Ik:tln',; l.or:tlilY wttholliliahrilty olallY I,illll til till' 1),,;!ln,1 h,' ('OIl1l':tIl,l' 1,',;eIH'S fhl' I;/hll"
                   of'kr In "fllI'l". \\'ill1l1l1t n"v o1tH)',,,'i,,,, til fll(' Ika"'I', all\' 11"11, dinc'II',,1 '" dint',rlltl\' d''';i!,II_,,,,1
                   ("""1':1111' 1'",,1111'1': 1..-:11;11): '"IV !,:ool"",,"I,·; "I II:HI,' 11:11"1'"        'L"" ,,'
                                                                                                              '/:III,"'d I", lilt' ('''lill':'"' ,,'
                   ;IIIY i\ II ilial\',                                                                                                                                  I


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            (Il)   ApJI"infllH'nl       Ill'   SulHh'al!'l's,        With Ihl'      I\'I illl'" ('(111';('111   "r   IIII'   ('OIl1P:IIlV,   till' I lea/.-, '" ,', \
                   "1'1'''; II t ,;t,I, ""'''1'1:; III IIII' 11,'al ... 1,,1 II .....;.r,' ",,,Ifo, ',1'1"\<,' "II '''"'1':11111'1",1,,1'1'' al a 1... "1,..,,
                   :'\'I'al'al" f,nn) the /)C:!il-I's place 01 hliSilll';;S, 1>111 wilhill tltr Ik .. kl's I.orali!.", /\11 "H,I.
                   appoill[IIII'lIls shall he ill accl1nl""cl' With 1('\lllS :lIld sl:lnt\;mls rslahlhl1O'd hI' thr ('II111panl' I"""
                   lime' til li111(" shall he nmdr hy ('x('clition of' a suh·tlealn ngrel'incllt sntisf:lt'lory ill 1(11111 :Olld                                                I
                   cOll:t'I1l tIl the ('01111':111), alld 51mll he suhjeci til Ih(' prior wrillell npl'ml':t1 or the ('oll1panv I h, '
                                                                                                                                                                             4   :




                   I k;tlcr herehy O1grcrs tlIlll. l1J1on the ('ompany's withllra",i,,/! its COI1Sl'lIt 10 til(' O1l'pllil1lll1l'1,l iii
                   :lny s"h·dealer 1tI'Il'III1,!cr, Sill'll I kall'!' will h:IIl1illalt' allY and all "/'.I""III(,l1t" :ll'l'oi"l i,,~: ',\H h
                   slIh,dl'akr:ls Sllllll ;lS possihk ill ;H:rllidant',' \\'ith Ihe t!TIllS ofslIch agrL'l'Il\l.'llt(s),


            N, Ti;m;\1S AND CONDITIONS OF SA!.J~

            (n.>   "rin's, Thc Dealcr sImI! pay 1hl' CUI11Jl"IlY nr Arminte rnr ('olllpnllY \'/(Idlld~ pllrchased 1''''11'
                   till' ('IImpall}, or A,fiii,,'" Ihl' Ikaln 1'1 in' a:: 1','>111 till,,' tn tinH' i~: r<;lahli"llI'd Ity Ih,' ('0"11""'1' III
                   Antli:tt\', less :til)' :'l'l'li,;ahlc t:a~h Of other di~rn"l1ls, I'I"s ;lIIy addition;tI clt:1l ~,l'S llIadl' It) II,..
                   Company including hlllll(lt limite,II,,:

                   (I)        dislrrhulion :lIld delivery;

                   (2)        ad\'('rlising:


   I               (:l)       taxes on the usc or sale of such Compally Products to Ihe rxlt'ill
                              included ill the Dealer Price or Ihe Company Producls; and
                                                                                                                                       ~lIch    laxes a,\:   lllli




    j              (4)        transportation. insurance. p:lcking. Inading. " lil'rring :lI1d other
                              gasoline, oil. antirreeze '1(; othr\' special ileJlls or ~ervices,
                                                                                                                                        hal)(lIi1l~: cil:t'!!l'"



                   Such Dealer Price, c<l511 or olher discounls and additional clmrgcs IIl;!Y he changcd from linl(' til
                   lilllc hy the Company or Affiliate wililoll[ prior notice or obligation [0 tlte Dcalr!'.


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                '\ "     ' l CL\. L ~ t ~ ,Lt elJ )                 C) (                              I
     I    fI,:sp':"1 h.                  ,~,     I'lly"ment. Payment for CUlIlpany Products purchasc:d by Ihe Dealer li'um Ihe Cumpany or
     C (     'llllll';lIl)                       Alfiliah: shall be utlh.: LllIllP;IIIY'S ci.:':liun by 1lll!1lllS of:

                                                 (II      ':;I;h hdill'l' .Idlh'I',\    III   t'nill'.i SI,lIc'; I )l1ll.lr~   ,11'   in 111.' ,lIlr,'n,~ .I ... "i;!n:l 1l',1   ,II)   Ih,'
     dU'I'l'lh .,'                                        111\\\1, .. ,
     ic~ liJI'II;
    ;C/II 11111, ..                             (1)       conlinll.:d, irrcvucabl.: Icltcrs uf I:I'cdil or lillancing cUllll1lillllCnl 0p':llL:d allll cunlinllcd
                                                          by slIch banks ur limlncc sources and cllnlaining such tcrms and condilions that arc
                                                          ilcccpl;lblc lu Ihc ('lIll1pany or Aniliale,

                                                (,I)      SIIl:h III her means as IIIl' invuicc lIlay pmvi"c, in whi':!l cVl:nl Ihc lenlls                          or Ihc illvuice
                                                          sha II govern.
    lie III        1/,
    f1"r      ;1I1t1                             Ikccipl uf any check, drali III IIlher cUllllllerciill paper shull IIIlI l:lln~tillilc p"lynlclil IInlil Ihc
    <lUI                                        ClllIIJlilllY or Affiliate.: ,shall Imve.: rcceived c"sh in Ihe Itlllamolllli Ihereof: The Dealer sh,,11 pay
               'hI'
    IIIIf     ,h"                               :III colleclion clull'ges amI ill! currency exchange cos Is, ifuny.
    'ill/ ll ,..
    ~fJak"
    111)' III
                                   Ii'          Title lU1l1 Risl. of Loss or Uamage. Unlcss Ih.: DCil!':r has been notilied in writing of u ehunge in
                                                the Company's Jlolicy toward tille and risk of loss or damage or Ihe invoice provides olherwise,
                                                litle and all risk of loss or lhullage to Company Producls shall pass to the Dealer lIJlon delivery
                                                FAS pori of exporl for Inlllsport to the Dealer. Unlil payme.:nl for Company Producls has been
     lIIil\                                    ef/cclcd, howevl:r, Ihe Company ur Allili,111: shall relain a s':clll'ily interesl ill ,Illd the righl 10
    iliuu                                      retake .Illt! resell such Cump.IllY I'n)dllcts, The.: Company or Amliule shull havc Ihe right 10 sell,
    ';lId.                                     Iransfer or assign its securily inlen:st in, and its right to retilkc ilnd resell, such Company
    II.                                        Produels to banks, finance institutions, or olher purchasers, transferees, or assignees or ils
    illltl                                     dlllusing ill allY timc, ;tllli such scelilily illierest ,lilt! right 10 retake allli resell shull nul ue
    ,'h"      ~.                               eXlinguished or be deemed lu be elltinguisllt:d llpon :Illy sale, tnlllsfer or assignment by Ih.:
     .. I                    "                 (',unpilny or Amliale ur lhc Dealer's paYllIenl uhligation to Ihc Clllllpany III' Amliatc, Ill' uplln
                                               Ih" ('lIIlIpaIlY's Ill' I\fliliat"'~ 1...... 'l't IIrlIllYIIII'lIt Ijlliu a halll, III lillalll'e iw;lillitillll 1111 hdaalf "I'
    ""                                         the Dcaler if sm:h sccudiy illlcrcst is ll'Ullsti.:rrcd or as~iglled III sueh bank 01' lillancc institulion.

                              1.1)              J)CIIIIII'I'lige alld !liverslllil I.i;.hill(y. The Ilt:akr shall l,e n;splIIIsihle fur altd pay ;IllY allli all
                                               lielUurmge, slurage and uthcr ehmues aeellling uti.:r delivery IlrCollljlllny l'rllllllL:ls, :nlll uny mill
                                               illl uddiliollul eosts and eKj1Cnses ineull'cd by the Compuny or Afliliate as a result Ill' the Denier's
                                               eancclhlliun ur il ('"mpany I'wllllet IInler III' Ieilisal Ul' fili""c lu ,ake dcliv.:ry uf a ('ulllpany
                                               1'I'II1111et (lnkred by the I >caler.

                             t.-,              Invoice. Sulc ut' Cumpany I'rudllcls III the Ilea IeI' shall he slIh./cl:1 I() su.:h uthel lertlls illIIl
                                               c()nditiulls as sped lied ill the IIIl'llIce c()vering silch ('olllpany Products UI as otherwise specified
                                               hy th.: ('ompany ill writing,

                             tl)               T:IXCS, The Ikalcr is I'cspllllsihk lill' ullla~.:s IIlIllla)( IcllIl'IIS l'e1:llcIIIO lit.: I kaler's hu~illcss ill
                                               COlllpany 1'I'I11111Cl5 alld will hohl thc ('ulilpany ;lIul AffilHlles hanlll.:ss Ihllll allY Idated ehlillis
                                               u, ,klllands lIIade hy any lax IIIg allllHully.

                         Il"                   Inculcnlls, AlIll'ild,; 1<:1'111:; sit"" fl<' t:OIlSIIIll'd II. al:ctllllalleC wilh IIII;ulel'lw, I')')() (llIlelllaliullal
                                               Rulcs for the h,'el'prctiltlon of Trad.: T.:rms) ur suhscljllent revisi'lIls 111111 :lmcndnlents Iherctu,




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             9, HECOlU>S, INSI'IWl'lONS AND TESTS

             /lle Dt!alcJ' shall allow pt.:r,ons tbigL<lled Ly Ih.: ('ompany at reasonable times autl inkr\ •• b lu
            lill: Dealer's business in Company Producls, plllee or places uf busillt:SS, t;lcililies, 0lh:ltlI!IHI>
            COlllpany Producls ulld uscd v.:hic!t:s, and vchicks in fIll' scrvlcc or n:pilir, III h;st the llealcl'~ ,
            to check and illslrlll:l lhe Dealer and its employees in Ihe proper handling of w.manly :lIllinliJer
            and claims based Ihereon, and 10 CX:Ull1iIlC, copy uno audil allY or all Ill' Ihe Dealer's IC,IJ(6i
            documcnls, 111C Dealer !lgrccs Ihill thc COlllpany Ill' Afliliate l11ily clwrgc back 1(1 thc Dea!.:r all
            or (;Icdils malic by Iht: CompallY or A\'Iiliilt.: 10 till': De.ller which wen: improlll:r1y clililll<:.Im IIJll
            lleakr sh,1I1 nUlllllain all r.:cords and dllCLlIIll:llls including Jllumals nn.! h:dg.:rs, whidl I'd " I;'; III Jb)
            in whok or ill pnll, tIl the I kalds husincss ill COlllpnny I'rudu.:ts including records lIscd a~ il
            ~lIhlllission of w'IITanty a1111 jllllicy d"ill1s III the (\Hlipany or (\llili,,11! liu' Iwo (2) ),eill)
            1l":I1I1II1Il:nd.:d Ih.11 Ihe I kaln llIaintaill s.:rvil:c n:t.:ord:i lill' a sunit.::"lIt period          or
                                                                                                              li1ll1: III lIIe(1
            ":lISIUIlICr c,JIIl!cms.                                                                                                                 \',
                                                                                                                                                     ("



            I(J,   AVAILAiUUTY ANI) CHANGES IN COMPANY 1'lWDlICTS                                                                                     \1)1
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            The Company, or an Af'fIliatt: with Ihe c~nclllrcllcc or lI,e Company, may al any lim..: aUlI f1Il1I1IHOI                                  \\ i
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            liahilllY Of llhlig'lli"n tll Ihe I kaler, including without limitation, any obligation with r~spect III i:lI                                    I
            l'tUllpany l'roulI.:t ordered Ilr jlur.:huscli hy or delivered 10 the D~akr.                                •                                 ,\

            11. TRAI>E!\IAltKS ANI) THAnE NAI\,mS

            'I h~ Ilcaler shall nol ':Olll~st Ihe right of the Clll1lpany or any Atliliatc 10 thl! exclusive usc III illi)
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                                         (2)      Any misn:prcscmalivlI III ;lpplYlIIg tiJr IIIIS ,'\gr,','/II,'/II by I,ll.: Ikakl "1 ;IUY p,'r~\'11
                                                  named ill paragraph F; any misrepresentation by thl! Dc:akr as 10 any p.:rsoll mllllcd ill
                                                  parauraph F; ur :i1II)/lIi~,,:iun hy Ihe Ilea IeI' In Ihe Company or llO Affiliale of any lillsl! Ill'
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                                                  Ihe Dealer of lilly doelllllellis in eonnecliun with ilny hankruptey, receivership or relaled
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                                                  Ill' an assigntllcnl by the Deala liil' Ihc hCllclil oJ' crcdilurs; dissulllliUI1 or Ihc nCOller~,j,l!;' .....
                                                  failure of the Dcaler lin allY rCUSUIl 10 limeliun in Ihe ordinary course or business, ur 10
                                                  mainlaill Ihe Dcalc,.'s hllSillcss ill CUlllpany I'I'IlJucts npcn fill' busincss during :,11
                                                  customary hOllrs as sci li'l'lli ill paragraph 4,

                                         (..j)    ('Ollvietiun ill cUllrl of Ihe Ikaler ur any persllll namcd ill parugntph F fur .IIlY viulalion
                                                  uf law, or tiny conduci hy any such pcr~on unbecol1ling :I rcpulable b\lsillcssJler~on, or
                                                  disagreement between llI' illilong any Jlersuns IHlIllCd in paragraph F, which in Ihe
                                                  Company's opinion Icnds III aflecl adversely Ihe operalion or business of the Dealer or
                                                  Ihe good name, goodwill or repu\illillil III' Ihe Dealer, olher alllhorized dealers III' III.:
                                                  Company, the Company, Allilmh.:s III' ('UIlIPililY Prlllillcls.

                                          (5)     The Dealer shull have cngag~d, IIncr wl'i((cn warning hy Ihe COlllpany, ill <Illy llllsincs~
                                                  pradin' 0' :lfll'l'lli:;II'1'.... '/II1:IIV III I Ill' fll'llvislClilS tlfparagnlph 5(i) tlflhis Agrcclllellt.

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        (6)           FailufO: or thl! n.:akr ttl lidfill UIlY provision Ill' pur.lgntph 8 (as to Icnns anll l":'~
                      uf sale), or p,tragraph II (as to t!'lIlkUlarks and trade 1ll11l1t'~),

                     In thl! event Ihat the Deakr fails to nmkc .lIty paymcul to Ihl! CllIllpany or any "1'1'1\,,\
                     when   OUC and does nol remedy such 1~lillire by paying all al1lounts 11'1: 01 arc pa'IIi\l~ ~
                     Ih.: Comp<tny and all Arftliulcs within liliccn (15) dllYs ar:,:r notice or ;;ny SUl!h raihll~ ..
                     lirst glvcn to the Dell Ie!'.

       (ti)          hlilur.: to terminate a sub-dealer upon lIlt: Company's withdl'llwul of its consenl III ~II':
                     appointment pursuant tn p:lrugraph '/(b) of Ihis Agreement.

       (9)           If (he De.oIer shull fail to secure and Illaintain any lic<:lIse reljuired Itll" the jll:rlilrlll,U:':" "I
                     any responsibility 1I1ll!.:r this t\grl!cllll'nl. ur if Slll.:h licclisc is sllspelllh.:d or 1\:l'ul,c,1
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        By ('ompany for NUllpn[Ul'IIl;tnn' II)' n,'akr, Ifth~ Ikakr ~halll;lil hi:                                                                   ll)
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                     I'l'IldllL'IS pursuant tIl par;tgr,lph 2 II!" lhis Agrl!clllcnt;                                                                          11", '" I'll
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        (2)          l'ullill allY of its rcspollsibi:,ll<::i wilh respe.:1         \0   sen'icc or COlllpany         I'rOllll~b    purslIalil hI              pentlll II,
                     paraglilph 3 o(this Agr.:cmc:nl;                                                                                                           .1I1Y ,tic\'.
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        ( i)          fulfill any of lIs rcspun~ibililies wilh l'I:spect                   (0   plal.:c(s) or busincss a!ld t;,cihill',
                      purslIanltu paragraph 4 of Ihis Agreemenl;                                                                                                  Thl: I)..:
                                                                                                                                                                   Ik"ld
        (.1)          liillill "ny of il:i other responsibililies pursuant In paragraph S(a) through 5(h) (.1' Iv                                                  ll.:I:\lH<:,
                      signs, Il<!rsonnel, deala residencc, eapilal, accounling syslcm, communicalians, n:p"II'                                                      r..:nltdi,'
                      01 C:1ISII;'hlcr handling), paragraph 50) (as 10 bws, rules ami regulalions). p<Il'ilgraph (,(hi                                                 I\~n:cn;
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        t",IIl.I.11" "I,'l' ih,' .1.'.11.-. ,illl', Ill, l "'1111'.1111' ,h.ill ,kll'l .1;'1 ,I 1'':11",1 "t' 1111\'1.' {J) nh'llIhs t,l OI1C ( I)
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                                                                 Ilt'lhis Agreemcnt.
                 ill.')' ",     ;'"Y :\'"1,                      Ify Co 11111 lilly at Will, If this Agreement is not for a stat• .! term specilied in paragraph U(ii) uf
                 II/e/) arl' "                       "\'
                 ,',            -1·""  ./u" ..                   Ihis Agreement, the Company may terminate this Agreement at will at ,my time by giving the
                     ,Iny Sill'l, 1'111
                                       . ,",'"                   Deiller ilt least one hunclrccl and twenty (120) days prior wrillcn notice of the eflective date
                                                                 Ihereuf,

                                                                lIy COIIII):lIIY Upon Ofrcr of New Agrecmcnt. The Company may terminate Ihis Agreement at
                                                                allY lime by giving the Dcaler at lellst thirty (30) days prior wrillen notice of the t:ffel:tive date
                                                                thereof in the evcnl Ihe Company uni:rs a new or amended form of agrcement to its ulithorizeu
                                                                dealers ill COlllpiiny Products,

                                                                Ads in Gootl Faith,

                                                                (I)      The Deakr aJ.:knowledges that each of its responsibilities under this Agreement is
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                 (J
                                                                         Jilillire 10 liJllill any uf the II! would cunslitllh: iI 1\1;\lerial br.:aeh u/'this Agreemenl, (ii)
                                                                         the occurrence ofllny orthe events sci forth in paragraphs 13(b) ano (c) wuuld seriuusly
                                                                         impair fundalllcntal considerlltions upon which this Agreement is bllsetl, llnd (iii) the
                                                                         rights of terminalion reserved in thc events sp<!cilied in pamgmph 13(1) ure necessary to
                                                                         permit the Company to rellluin competitive at 1111 times, The Dealer acknowledges that
                                                                         any such l11illlre, occurrence or event constitutes a reasonllble, fair, gooo, due uno just
                                                                         cause and provocation for termination of this Agreement by the Company,

                                                               (2)       The Dealer agrees that if the Company or any of its representatives (i) requests the
        I    5(1,) I:"          I ..
                                                                         Dealer to fullill ,IllY of such responsibilities. (ii) believes that any such nlilllre,
     IIiIIS. "'/             h." ,                                       occurrence or event is occurring or has occlllTed and advises the Dealer that, unless
    'ilg""pl, ('1",
                                                                         remedied, such failore, occurrence or event may result in Company termination or Ihls
    Illd h'",:.) III
                                                                         Agreement, (iii) gives the Dealer notice of termination, or It:rminlltes this Agreemenl,
                                                                         because of any such failllrl!, occurrence or event, then sueh request, advice, notice or
                                                                         terminution slmll not be considered 10 conslitute or be evidence of coercion III'
                                                                         intimidation, or threat thereof, or to bl! unreasonable, unfair, undlll! or unjust, or to be not
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                                                                        reslliulion of the dispule; provided, howevcr, that no such IIIcc!ing shall he deellll'd Iii
                                                                        vitiate III' redw;e the Ilhligilliuus 011111 Iiahilities of Ihe parties hcrellnd.:r III' he deeliled a
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                                                                        waiver by a party hercto or any remedies to whieh sllch palty wllllid ulherwise he
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                                                                        entillcd hereunder.
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                         (1))       Ii, wI:!t:n !hill)' (HI) ,bys :ilkl slIch IlIcc'ling,                ~!H      ('OIllI""IY alld tlie 1."'111('1 \::'" \
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                                                   Midiiga!], witlioll! regard 10 ils l'On 11 icl laws l'II\cs, shall "Pilly 10 Ihl'
                                               proceedings and the pallics "glee to accept suc\, jurisdicliol1, Equilahle
                                               lel11cdies shall he nV:lilahlt' ill lilly arhilralipn. Prlllili,,\' d:III1:ll!l'S "hill111(>1 h-
                                               a"'lmb\. Thi~. PIli lIgl 1I1'1i 1,1 is ,:IIi>jl'ltto the h'dela1l\lhilralioll Acl, 9
                                               U.S,CA, \ ,llliicd States Code Al1llo(,llcd) § I ct &<;<\. alld judglllent IIjl(ll1 IIII'
                                               ~w;lf(1 rClicincd hy Ihe t\lhilllllnr, il':III\,. "hall ill- lillal :ll1d hinding ul'"nlll\
                                               parlies.

               llH- ('olllp,my :\lid Ihe I~t'alrr ;rJ~rcl' Ihal tl\l' di';plllt' ICiollilioll I"OCl'SS ollllill('<1 ill Ihi<; 1':11:11'1:11''' II
               \'.!II('!> "" illd",; hio""'I', ;IIhilllllioll, ;;halllw fill'        1'.\, III"i"l' I1I1'thalli:;111 li1l leso!vin!; lilly COlilIOVl'IS), 'li

                                                           or
              ,·1.';111 "'.·''''''l'l1 1\1\'111 <lrisill!,.: !lui 01 Iclalill.!.! ill allY way 10 Ihis /1, ,(TIllCIlI including all a'f;wlllll1'III';
              h<'IClo, ils creatloll, inlerprclalioll, il1lI'1C1IlClllatioll, illl':didily OJ ft'lllli1..,I;.lll.                       .



              15, OBL!(;ATIONS UPON TlmMINATION on NONRENEW;\L

              Upon termination or llol1rcncwal of this t\grcc!l1cnl. the Dealer shall ccase to be an aulhol i7.cd deakl III
              Company Products and shall imillediately cOll1ply wilh thc obligatiol1S listed below.

              (a)       SUIIlS Owing the Ollllpany, The Dealer shall pay to the Company or Affiliate all                                       SllllIe   O\\'llig 10             1,
                        the COl11l'ililY or t\ffiliate.                                                               .                          '


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                                    lIIallCC of IIsc IIfTr:lIlelllarks aud Tnllic NlIlIICS, The Dealer shall OIL its own expense:

                                  :ellluve all signs ere\:led ()r lIsed hy Ihe l>calcr, illld hearing Ihe lIallie "Ford" or .IIlY olher
                                  lradcluark llr lrude 1I,lIl1e IIsed ,)r elaillled lJy Ihe ClIlIlPUIlY or allY Alliliilh.:, (except liS
                                  such u~e may be permitled under exislillg ugn.:elllenis with lhe Cumpllny relaliug til
                                  prmillets of th.: ('IlIIlPilIlY or ally Artlliale IIlher Ihall Cnrllpilny ProdllCls), (lr allY wurd
                                  inJicitling lhc Denier is unlllllhnrizcd dculer in Cumpany ProduCIS,

                                  .:rasc or oblitcnllc Ii'om h:llcrhcilds, stalionery, business Ii.mus and nlher pllpers used by
                                  the Deiller or by any business IIssocialcd or unilialed with the Dealer the word "Ford"
                                  and all olher abuve described trademarks and trade milnes, lind all words indicating that
                                  lhe Dealcr is an 1I11lhllrizcd dealer ill Company Products,

                                  permunently discontinue all udvcrlising of the Dealer as an authorized dealer m
                                  Company Producls,
                  t,
                   \ .4)          reli'ain from doing anylhil1~ whelher IIr not specified above thaI would indicale Ihe
                                  Dealer is or was an authorized dealer in CUlllpany Produels, und

                        (5)       remove any Stich trademark, trade namc, cuined word or combinatioll which has hecn
                                  used, with the prior permission ur the Company, in the Dealer's firm Hallie or trade milne,

                       Ir alier lermillnliun ur 1l1lnrCllcwai of Ihis Agreclllcnt Ihc Dca!..:r ~hall 1;lilllr rellisc In comply
                       wilh any Ill' Ihc re'luirclilenis "I' Ihis l"lragraph 15th), thc I )cllier sh;11I rcilllhursc the COlllpilny
                       lor any cosls lind expclIses in<:luJill~, without limitation, any atlorney's tees incurrcd by Ihe
                       Company in elllllleelillll wilh any .1l:lion lakclIllIl'lllim:c wlllplialll:c wilh Ihis paragraph 15(h),

                       COIllIlIIIIY OJltion til Repurchase Signs, The Company may, at its oplion, reljuire Ihe Dealer In
                       sci I any si~ns rcferrcli III in (lilragraph 15(h) III Ihe CIIIII(lany aecllnling til the lenns and
                       conditions orthe Dealer Identilication Agrecment.

                       Wluranty WlIl'k, The Dealer shall ':Cilse to be eligible 10 receive reimbursemcnt Ih1l11 the
                       Company with respecl 10 any work Ihcre,lner performed or part Ihereuncr supplied undcr .my
                       WiliTililly or puliey applicablc III any ClllllpallY Product, ulllcss spccilil:ally authurized hy Ihe
                       Company in wriling to p.:rlllrln ~uch work ilnd then only in the Illillincr and lor the period Ilflilne
                       scI lorth in ~uch allthorizatioll,

            I~)        Service Hccllrds, The Dealer shall ddivcr to Ihe COIllIIaIlY or ils nominee 1111 or lhe Deillcr'~
                       records wilh respecl III prcdelivery, wlirrallly, policy, clIllIpaign lind other service work llf Ille
                       Dealer.

            (I)        Orders IIud Customcr J)cposiIS, Thc Ikaler shalltransli.:r or assign hy appropriate dU':lIIl1clIls
                       IlIlhe Cumpany,lIr ils nlllllincl" all mdcrs 1111' ('lIIupany I'rtllhll:ts whidl Ihe Ikaler 1m:; 1I0t lilkd
                       and illl c:lsh deplIsils madc Ihaellll, lInci dcliver to Ihe CIIIIl(liIllY or its nlllllilll:c thc n:III1I'S and
                       addresses III' Ih.: Ikalel's cxistinl; allli pl'IIspeelivc cUstolllers thr ('lIl1lpauy I'rulluels,

                       (':1111"'1111111111 III' ()nh',,~ 1\1 tI", "1'1""1 ,,1'11\1' ( 'ullIl':lny, l'adl 111,1... lill a (""II(lall), I'wdill'!
                       rc.:cived lilllll Ihe Dealer allli unlilled     1111   Ihe cJ'lceltvc dillc (If Icnllillalioll or cxpiratioll   lIf   Ihis
                       A~reelllcnt shall he eama:lccl,


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             16, S{I(,(,ESSION                                                                                                                                           1·,,11'"
                                                                                                                                                                            plll\H


             1\IlY prillt'ipal oWllcr named in paragraph ni) ht:ll'of" ilia), "PI'!HIII a nOl1linl'e ~I:n'('''~{ll hy slIhmill,,!,
             1I0111111('C SIll'CeSSIlI"~ mllllC in Ihe m:lnlllT dc~i!!I\:IIl'd hy IIll' ('olllpan)' In Illl: c\"(:nl of Ihl" d,,;!-;                                         1',"
             physicn! or mellial illcapacily or the prim'ipnl Oll'nn, the 1I11lllillt'l', 10):,'1111'1' \\'ilh any (llhl'! "'111,'"                                           \,.11:1

             prlll(i",1\ O\I'/l,':S n:IIII\'1I ill p'II'a)'J"ph F(i) 1"1 iiiH'I (1\\'11<"1:;") "!,:,"pH""'1l1 III til\' ('OIIlI'IIIIV ill WI!!!!,,'                           "I      ;J


             llll'1l1'1.';lIip alld 01','lallllg plall as 11''1 i III \'(1 hy Ihl' I 111111':111)' H'I:""II~ I" Ih,' (,(1I11illllnl "1ll'lali,," "I                            ,111)

             lleakr :IS all alii hili i~l'd ,kaler ill ('OI11P:IllY I'rodlll"i:: (II' :III,\' !,"'posed, IIl'W SII(TI'SSClI Ilt-akrshil' I
             ('oillpa:l,\'. in ils ~:"k di:;nl'lioll and williill a "onllll<'I<'iall,1' I\'IISIIII:I"'" lillII', ·;hall dl'l\'nllilll' II                          I"
                                                                                                                                                                        (\ 1',1'(
             ( '111111''111,1' "hall 11.'1 111 ilia II' (his Agrl'l'1I1l'1lI ill a('I: 01 dalll',: will! pal :I~I apli 1.1. or a ( jl"h:t1 11111'011"1 IIt
             Saks ;1IIt! Scrvic(' Agl'eel11enl shall hI' "ni:reti In Ihc proposed, Ill'\\' SIICCl'''"OI' dcaklship by I'I",.-i,'\\ II ... •
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             oWliership and (Ipl'rnlin)! plnn I'r0l'n~l'd ;Hld (kll'ltlIinil1)! ir Ih,- lIomil1('I' '111<1 (JIlin (h, III'"                                                        "
             :11'1" "PI iall'l)' '1l1alilied 10 OWII alld "l'l'I<lh' Ilit' 1><::111'1 or 1111' 1"01'''''''1. IIt'W StllTt'!'<"or dl':dl'l~hll' I                                   (I:
             l'nahle Ihe ('ompany to make ~lIch clcll'l'lIlil1alioll, Ihe nOlllill,'C' alld (llhn ()I\IICIS shall pi 11\,111,                                                         I'

             IIIlimlialioll ,11111 dala requeslecl hy Ihe Company,                                                                                                                     n
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             17. RL\(,()IIISITION OF ('OI\II'ANY I'IWIHI( TS ANIl A( '()tlISn iON (IF                                               TIIl~    m:,\U H"
             SI'E('IAL TOOI.S ANI) EQ\I/I'i\IIi:NT

             (a)        H<'purchllSl'. UPOII Ihc expiralioll (II' Icnninalioll or Ihis Agn'!'I11l'III, Ihe                            ('(11111':111\,   Ill"   \
                        lIomillt'I" 1lI;IY, :II il': "plillil. pllrehasl' Ihl' Ii.llilwilll', dl'!lln"hip :1.""1'1';

                        (I)        Earh ullused, 1I11(1:Il11ageti :Ind unsolll ('olllpallY I'llIcllICI ill Ihe Ikalt-I', slock 1111 'II,
                                   dTl'Clivc dale or slich lel'lllillalioll or e,~J1iralion or lI,c AgrcclIlcnl, pl'llvidnl 'lit I,
                                   C(lIL, ,,;;y Prodllcl i~ (i) ill Iir.<I-l'Iass s:rlahk clllldilioll, (ii) has 1101 h(,(,,11 alicll'd 11111'.;.\'
                                   III(: COIl1P:IIIY'S r:1{:lt lry. (iii) IVas pllrl'h:l~"d h,l' II ... I kall'l /i'olll IIII' ('OIllP:III.\' 1'"111 I..
                                   gil'ing III IlTl'i, ill/'. lIolin' or kllllill:lliOIl or Ilit' Ol'ilatioll III Ihl' A)!I\TIIICIII, (II \\'1'
                                   plIIdmscd hy the I.lc;lIcr li'ol11 :lIIother IIl1thorizl'" deakr in (:01llp:lny l'rudllcl~ 1111 11111,,'
                                   Ihan IWl'lvc (17.) Illonths prior tn gi"ill)'. or I('('ei\'ill)! lIoliel' Ill' lel'lllilialilill 01 Ihl'
                                   expiialillll or Ihe AgICl'llIl'lIl, and (iv) with n:spccl 10 (':11111':111)' Vchicles, is 01 a II.I'll
                                   curren I ll1odel. and with rcspcetto (;l'lIl1int' PariS, is UlI01Cllt',1 ami is olfered Ii II' sak hI
                                   the Cumpany in its thcn ClIlTCnt parIs lis!. 'I i:e priec Iill' ~\leh Company Pl'(,duct shall !>('
                                   ils Dealer Price, plus the Company's chargcs ror distrihution, delil'ery and tnxt's. nl III,'
                                   time it wns purchascd, froll1 the COlllpnny, less all allowances paid or al'pliL-ahk
                                   allowances orrered thereoll hy the COIllP,ll1Y,

                        (2)        All ~pCCi;lltools allli automotive scrvice cquipmcnl oWlled hy Ihe Dealer on the dkrlll"
                                   ti;:I.;or terl1linnliol1 or expiration of Ih(' Agrecmcnt whkh were designcd especially f(1I
                                   servicing Company Vehiclcs, which nrc of Ihe typc rccollll11t'1llkd in Il'riling hy Ih~
                                   Compnn)' to the Deliler and designated as "spccinl" tnols and equiPIllCIII II}' Ihe
                                   Company, which arc in usahle lind good condition excepl lor reasonahlc wear ami leal,
                                   and which wcre purcllHsed hy the Dealer within the three (3) year period iml11rdiall'i\'
                                   preceding the errective date or termination n; expiration of (he Agrecllleili. Thc price' lill
                                   each special 1001 lind itcm ofllu!omotive ~cl'icc cquipment shall he in aecOIti;lnl'c "ill.
                                   the dcprcciatioll schedule ill the Standards J\~;lIIl1al ill erred as of Ihe cm,clil'l' dalc' "I
                                   1C:l'lninnlion.

             (h)       1'l'occdlll'CSI J)clivcry :1l1d Tille, IIpoli exercise of (his oplion, the Deafrr :11!ITl'S :\IIc1 ('nn~c'III'
                       thaI Ihe COl\1pany, or ils 11"" ;n(T, l11ay cnft'!' III<' 11I('llIi~('~ Ill' til(' I k:lkr 10 tal(I' ;III illl'('1I11l1 \' ;11111
                       accouilling "I' the dcalcl~hip as~ds, Tht- I kakl shall rt'llllll all 1'1'(1111'11), 10 hl' I'urrha~l'd I;,' IIII'

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                           i )JlJjU.lJ (} 1.1 (U_~lf)
                                        I
                                                                          u t.
                                                                     .                             I
                                                           pursuant to paragraph) S(c) and this pamgraph 17 in accordance with Ihe procedures
                                                    limetables then established by the COlllpany. The Dealer warranls good clear title 10 llll slJch
                                                       y, and shall Illrnish 10 Ihe Company evidence satisfactory 10 the COll1pany thaI such
                                                         is lh:e and clear of all claims, liens uml encumhrances.

                                                1'~yUlCIII. The COlllpany shall pay the Deakr fur Ihe propcrly purchased hy il pursUlInl III
                                               p:lwgraph 15(c) alld Ihis paragraph 17 wilhin a reasonahle lime rollowing the De.ller's lilllilhnclli
                                               Ill' nil of Ihe Denier's ubligali(}lls under paragraph 15 und this paragraph 17 subject 10 ollst:t or
                                               illly obligations owing by Ihe Dealer 10 the Compuny.



                                                  CIIIII/llIIIY Highl III AJI/I/"Ove Chullge ill Owners"ljl. In view Ill' Ihc lIutuJ'e, purposes und
                                                  uhjeclivcs (If Ihe (:OIllJlllIlY':i Ileall:r Sales alld Sel vit;e Agn:ellients, alld Ihe differences in
                                                  uperating requirements nt110ng deulel'sliips Ill' diflcrillg si:t.es lind types (If markels, Ihe ('OIllPliIlY
                                                 expressly reserves the righllo select thc dealers wilh whom it will enter into such agrecments SI)
                                                 tiS (() maintain as high quality a dealer organization as possible. In the event Ihis Agrecment is
                                                /II;luully terminateu 01' notrcneweu by either party or if the Dealer anticipalcs that the Dealer will
                                                lerminate or not renew this Agreement, the COlllpany acknowledges thul Ihe Ocala h,IS the righl
                                                III lIegotialt: for Ihe sale of' Ihe assels of Ihe Dealer al such price as may be agreed upon by Ihe
                                                DCtllt:r and the prospective purchaser. In lui'll, the Ocaler ucknowlcdgt:s thutlhc Company has tht:
                                               righl to approve or decline 10 upprove any prospeclive purchaser as 10 his or her charucler,
                                               ilulomotive experience, manugemcnl, capitlll amI olher quulifiealions lor appoinlment as un
                                               :!lIthorized dealer in Company Products lill' tile dealership business involved. If, in the opinioll
                                            '·.uf the COlt1pany, the prict: to be paid for such assels appears, on Ihe basis of Ihe average
                                              opcratillg resulls of' ulher dealers, 10 result in all ullsatisf',letory relurn 011 invt:sllTle!llt so Ihal sllch
                          1   <

                                              prospectiVe! purchaser (I) lIlay 1101 remain as a dealer, or (2) IIlUY be impcllt:d 10 sell Company
                                              Products at high noncompetitive prices with II prubable reduction in sales volume, Ihe Company
                                              may withollt liability to the Dealer, eounsc:/ with sueh prospective purchaser regarding such
                                              njllllions.

                                  Ih)        COIIIJlllny Hight IIJ' I"irst Rcfusul til j'urchuse.

                                            (I)       In Ihe evellt of a prupllscd ehallge ill ownership of Ihe Dealer ur Inlllsfer by sale 01'
                                                      Iltherwise uf Ihe dcalership husiness III' Ihe Dculer's prilleip.al .assels 10 :lIly pt:rSIIII or
                                                      enlily eonditiuned upon the ('(\mpuny enlering intu a {iluhal Importer I)e:llcl' Sllles illld
                                                      Servit:e Agreemenl with Ihal pt:rsun or enlity, the Company shall have a Right of First
                1<
                                                      Hcfusal III IIl11ehasc the IIwllcrship inlerest 01' asselS pl'(lposcd 10 be sold or tr,\IIsli:rrcd
                                                      Ull the saHU: lenlls and cOIlililiuns offcl'ed Ill' agreed 1(\ wilh sueh persoll or enlily,
               J/
                                                      regardless ul'whcllIt:r Ihe proposed buyer or lransli:rec is tjllalilied In he a dt:alcr.

          ,I
                                            (2)      Tn c:xereist: ils I{iglil uf Fir~.l Rclil!iaJ, Ihe ('OIlipallY III1IS( 1I11liry 11Il' Ik,llel in wrilillg
                                                     wilhin Ihilly (JUl days of ils receipt of the enlllplclt:d pl'll(lo~al lin' Ihe propused salt: Ill'
                                                     transfer thaI il inh:llds 10 exercise its Right of First Relltsal.
        II,
    III
                                            (3)      Upon the Company's requcsl, the Dealer shall prov:dc all uocuments relating tu the
                                                     proposed sale or transfer. The COlllpallY shall have Ihe righl 10 insped the assets,
                                                     induding real estale proposed to he sold or lrunslened he/I)re exercising its Righi of
                      f                              Firsl Refusal.

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                                  lite ('Ol11paIlY's Righi of Fir.,t 1{r.rll~nllllJdt'l lills pill agr:lph I X(h) II1i1Y he assiglled I'
                                 lili,,1 p:lrly ("I\;siglll'c"), II' 11",Tl' i~ all assigllllll'l1l, Iile ('!lllll""I.\' will ).:11:11:1111,\
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                                 P:I,\'I11(,111 or Ihe I'IIrdliiSC Jlri!'r by Ihe ,\,:siglln:,1 hI' I '1l111Jlany ,;Jlill halT Ih(' llJlI'Oll,
                                                     "'I
                                 III .Ii:,I'1I.';'; III<' illS "IIIII' 1'1"1"1.''''.1 .',:d,' 'li 11:III';li'l \\'1111 :IIIi' 1',,1"II!i:'! 1\';o;il'llI'"
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                                 illl"I\':;1 ,,111\1' Ik;d"1 III 1'1111''':1''''1 ," 11:l1I.':li'I'" "I 1111'11\\'111",,1,,1' lilil''''"I, ",:d"
                                 hIlSiIlCS" or Iht: Ikakr's 1'IIIICip:" a:,,,,'I,, Will'll 1111' 1'J't'I'''''''' ('hange III (\\\Ih,'
                                 ii1nd\'C~ a Ir:1I1s[\:r by a I"'illripal U\',11I.'1 ,'(llely 10 :1 111(,lll11C1 III 11'<:ll1il('IS nl hi,; <II
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                                 ilJ1lllc<ii::ic "llllily, '" In a '1":"ii'"ill)', 1ll"IOh('l II: I k:dl'l 111:111:1,"'111\'01 Ihe ('(lIllI','
                                                                                                                                                               ,,'   I   \        I   ,1    ~\I"
                                 I{ighl of' Firsl Rel'llsal \' :11 11t'1 ''1'1'1)' All "1111111",":111' 1:111111)' 1l1('11I"cr" ,;klll I", ,
                                 "1'0\1;;(', l:hild, gralldchild, "I'OIISl' o!'" ('hild or l'.I:11l<icililcl, hlnlhel, si';ll'l 'li 1':11('111"
                                 principal ownlT, A "qll;dif'yil1g 11)('1111>('1' of IIIl' I k:dl'r's III:lIT;I!:cIIlCnl" ,h:dl I"
                                 illllivi<lll:11 who Iras hCCIl "1111"0),e<l hi' 1Iit- I ),':dl'1 ill III\' t!,';dnship lill al 1",,'1 lilill "',
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                                 :llId is olhl'llVi~:c 'I" 'if 'd :I~;" d('akl np"I:IIIIL


                                The (,OIllPaIlY shall pny the 1'\':ISOII:1I"I' ('XpeIlSl',:, i Ill' it II Iil\\', :llllIlI1cv's i'ccs \\'hich d" I
                                                                                                                                                                         11 ~, ., ,.; \' f
                                 ");ITcd   lire w;lI:d, (lIsl(llilary, alld rraS\'llalrll' kl':< dl:1I /!"" jill ,,;illlil:1I \\'\11 k dlllll' lill "Ii
                                clients, iliclIlJl'd hy lite pl'Ojlo,;cd IIl'W (1\\111"'; or Irllllo;li'IIT,< 1"1111 III III,' ('01111"'"
                                nneis!: or its Righi or Firsl 1~('I'tI:;al ill 1Il'j~(llialillg lire ('OIl:::Il'i 1'", lire p,ol'"sed ",I,
                                1r:1I1~1l-, of 1I1l' OIl'IH'r ship illln('d, dl':>!": ,;iIil' 11II',i \II";'; III 1'1 il' ip:Ii ",';s('ls 011111' I kId, I


                      (/)        Nn'\\'i"I~:l;ilHllIlj~IIii' f'tllT,.niI11·" 110 1':1\,1111'1\101 (',{WI!":,'>; ql :d!IIIIU'Y'.: fl'!' P"I';II:1I11"
                                1111"   1"":WIIII"1 I ~':i") ::111111 I,,' 11''1"11' d Ii Iii,' 11",111'1 It",; 11\\1 ':1,1'111111,'" III ,':lII,,,d I,' I
                                                                                                                                                                         ,\,,\\,\1\\
                                '<1,11111111('(1 :III ;I(T[lllldilig 01 :ho,:l' nl'l'II"": \\'ilhlll Ihi: 1\' (\(1) I"'Y~; III Ihe I k:dl'l\ II' ,';'
                                                                                                                                                                       1 1-, ,d':1           .~
                                Ill' Ihl' ('IlIlIP:lI1Y', wri1:(,11 \'('q11l'sl 1;,1' ,:111'11 'Ill IIl'collnlill!', Iii,' ('<"lIl',\nV Ill'll' 11'<1"" I,,'
                                ;lcn'!l!l!ilJ,', of ~;II{'fI \'XjWIL'-1 ~~ illt"tIIlnl PIIOI III ill!           !lIlh' III ::111 II H'(pH'::f ht'l'\l!l' \It

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                       EXHIBIT E
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                       EXHIBIT F
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               SERQR-JUEl SEPTIMa DE PARTIDO EN lOCIVlL DEL PlSTR1TOJUD1CIAL DE
                                                     COCHABAMBA
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            SAN DRA E. yAREZ SO, de generales de loy conoddas en rBpre~enlaclon de Ie empre!a




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            FORD MOTOR COMPANY, en virtu<! 01 pode! contenldo en el                  Te~Umonlo    N" 49312003
            CUlSBnle en ob lados, denl ro de · la demands SCIIU!dll en SI! conlul por Aulomol ores
            G.1I ltuJo SA (GAUNDO SA.), e~one y plde;




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                r.      ANTECEDENTES                                                                      •
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            dorlos    y perjuicios conlra FORD MOTOR COMPANY. Hllblcndo sido ICl:almenle
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            nol!nC.flda por memorial de 19 de noviemblC de 2003,                Ini IcpllIsenlada OPU50 uno
            cu:epci6n de arbHroje, 10 mismo que un o vez conirls en Irasliido rUB cOlll 051ad8 por
            Galindo SA oj 2 de fobraro de 2004. AI respocl0, 81 29 de marzo de 2004, 5U euloridlld
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            dicto rcsoJucloo des8sUmendo 10 excepcion de erbltrllje opueslll por rni represonlada en eJ
            plozo de ley, ertlculo 12 de Le Ley de ConcU]otl6 n y Afbitr8je, coneordanle con el ar Ucolo
            336 del C6dlgo de P/OcedimJe nlo CMI el euol determino Clue USled se • ... ~llliba de
            conoce r el caso cuando 10 soUtile 18 partc JUI.Jielelmenle dernem1ods." EI 6 de aMI de
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            "2004 FORD MOTOR COMPANY rue legllimenle nolifitOdn con dlcho rcsnlucion.
            Diehl! rcsolucl6n, en 5U parte final, dice • •. .10 Compun/o Fonl Molar E...0.!!!pony, lin
            tef11linodo con 10 vigenc/o del conlrolo por docisi6n IInlJa/oml; ohom, Jobre /OJ dillios
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            del convenio 8nle un Tfibunal ArbffraJ del Eslado de Michl!Jlln Esf(ldol Unidos de
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            pElrte da 19 fey c"ado (NoIII: EI fuez ,e relief e II Ia l ey de contlUacl6n y orhilraje) pan
            TANTO.- S~ des8j llma/e excepcf6n de orllilra}e... ".
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            En co nseeuanc!a, do IIcuerdo a los enleteda flles pl8flleadDS, e nonlbra de rll \
    ("      represenleda, FORO MOTOR COMPANY, hablendo sutrldo flgmVlos, dentro lIel IfJrmino
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            legal, me permito returrir de apelatlOn comra la mencroneda ResolutIOn dichl da por su
            Ilulolldad el 29 de marlO de "2004, de aeueudo alos stgulenles l elfnlnos:
                11.     INCUESn ONA BlllDAD DE EXlSTEIlCIA DE COHVErflOAnfll TRAl
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            De acuerdo II 10 scnlllodo en al memorfal por at que S8 opu50 In excepcl6n de arbitraJe en
            aplicaclon del Art. 12 de. Ie U~y 1770, (''EI convtnio .rbitrel Import. III renun ct 3 de In
            partes II inle13r proc eso judIcial sobre l as mJlerias 0 con\foYel""!ias Som~lId3S 31 I rbltraj o")
            e\ primer y Ollimo ptlf rar(lS del numeral 14 del "Convcnio do Venlos y Servicio de l
           ~Concesiono!lo
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                    Company. !J;J mml/OW             con la \I1qoncfa del CO!llr.Jto par c/er.(sl6tl lIf1ffaterol; allDr.l,
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                    ;ubllr.Jf lin flec!.4!!M1I del CO"",,"/o ame- un fr/hula! Arhllr.ll d el Eslado de Me/ l1mn
                    Estadn.<; UlIldos rh1 Nor16amfrlca' sifuod6n Impas/bte que eslli prllvlsln su abseNtlndo
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                    en e l Arl f2- IfIOnima pntte de l a lay citada POR TANTO. - Se deses llmn la eXCOflClon de
                    afbltfoja•••". (subfsyado y resetiedo nuestro).
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                    ebsolulllmcnle posible por 10 slgulenle:
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                    del rnbilrllje (Art . 6 l ey 1770),
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                    Es deelr que el convenlo orbltral he cumplldo con lodo$ 10 l aqulsilos legales para su
                    Wlildez y eJecucl6n. No es de eJacucl6n Imposlble,
                        IV,      APUCACI6N DE LA EXCEPCl6N DE ARBI1RI\J E
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                    Pelo 10 excepclOn de fltnl1raja loU apllcabl e p un conlralo temllnado?
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                      EXHIBIT H
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                     Ameril":", Itoad, Denroorn Michigan 48121-1899"~ los EsladCls Unidl)5 de Noneamrrka.

           ii)       Ell fe<:ha 14 de   oov~mbn: d~      200)     'j
                                                                                     ,
                                                                       D IfD"H del memorial de roj ... 147-1491. corlJO,ad6n

                     !'"ORO MOTOn         CO~ l PANl'       mediante la apodernda: 0 111.. ~ndnl y ..lez Eid. ba OPUfiIO



           iii)      Mctiiame R(!S()h,ci6n de rccha 29de marzode 200~ (fs. 165 de obnMlOI)cI Jucz AD-Qun, 1m




           iv)       En Itch" 12 de ~bri l de 200,11" corpomc i6n FO RD hBlicdneido r«u rsodeapelaci6nconlr.l 10

                     rc""lueiOn del Ju ex A U-Q UO, de mane", que con IJ n:SlluC$lR de III plne dem~ndlnle. a lflll'es

                     del AUIII de fecha   2~ d~ m~)'<I   de    200~       (fs.l n vla).!Ie ha   con~....,dido   el ."""IM de alzad.:!.   y

                     . eOl',ido ob.ados a cooocimiento del Tn"bunal Supeliof.

           v)        En fccll>. 26"" ma>.... dc 200(;,1:t SALA CWIl. II de la Ca n t S" ... riurdd Dislrih.J."I ;"i.'}1

                     de Cocb :L b~mb:r, h~ cmilioJo cI AUIll de Vista pot el que a nula el anloli~ oon=i6n dcl ..."Cu~

                     de 3""I3>:i6u d~ rl. In Iia de fceha 24 de mayo de 2004 y              t(lmpICm~nl.du          Cn focha 9 <Ie julio

                     de 200~~' sed.:d"m tj~,ul"riar.lo c1 A"'llde fech 29 dc marrodc 2001 (fo. 165 lie u~""Ir ..).

           Oceisi,,"es que 'l(nllvall cl prescntc rccurso de ampalo conslitu~io,,~I.

            IV.      !'"UNDMoIEi"IQSPE LA DESESTII\U.C. U:'lN 1lF. I,A Jo:XCE I'CION DE ARIJ1TRAJF:.

            ite5ulill wnbitn de suy!) impoManlt, se~on::s Magi.trades 0.1:1 Tribunal de Amparo, punlu"li""r los

            f""darnCnlffi de I:t. dcsnli ....",i6n d e III u« pcl6n de II .bilrnje 1.:1111... okl JUC/. A D_QUO como de la S:lIa

            Ci"illl de 13 CurlC S"I'I'.ior del   D;~u;1Il   Judicial de Cochabamba:

            a}       Fuml"mcnlo5 d e I~      tlttl~IOn   "e'   .l u~ /.   Ad"'I"'"



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                       [I funt\amcll1o del sdlor JUt :/; ,\1)- QIiO panI ~$l iln3f Ia cseeF"' i<l,. d~ ~rbi\l"j .. c; 'I"C! al




                       reclamo a la .. lambilt1ll en cjec ud6n de l cu,,,,,,,.io. cnmneslll prtVb h)C" d " ",1Ic" ,1 11l dd ,\n .

                       12" de 13 u y No. 1170; de fnnnd tes.ual. indiu , "QII~ I.. ""'''I",lliu F"nl.\fo"'rC.m'/~"".'·' h"




                       F.I Jue,. AO-QUO. K i'Iores    M3l!.i~.r.ldO$   del Tribunal de An'I""'" ha it.n" mdo 0 enern d o                  I~


                       prc\·isi6n dcl /\r1. 11 ° d" Ia Lc} No. 1710. 'I"" l."""""gra: "An. II" (II~/Omilllfu Ifd cOIlwnit,




                       mis. 13 dCIlUUl~!e GAl1NDO S.A. ha pt\:SC,,'oou ~" cali,L-..l de 1""cbs li.cral }' Ir:lducido at

                       tsp.mol tl dotumenlO (Omp!ememario al (onl ,,"'o oJ.: 199Q <k' M)", i",,,',,, " C",,..mi., ok .-.-lUlIS

                       J" S~n'lc/oJ .M C:(lllcesio/lorio Impor1ndor        Glo/",/~   en cu yu   " um~t"l   14.   1~   I"Hlc I'" •• i"",,.c.



                       '10 PQdojJl h 't tUwlwt M Cl Cur,W l!Prowl tic           {Of nn~!(i'.. "n       rl PI'" ,/" Y'''' .""riu lu/



                       {m·/j!W.·;   II T I/ 8MINACI6N DE E§TE CONTRdTO mi jV""" '''" " lIul""jau " ,.d".•," t.<


                       1~1W·I.· •• ,,,lt      1-."1 dRBITRdJt.' ", Md ... "',

                       Dc m:Ll1cr:a que. SCnore5 Magisu"dos del Tribu n~1 .... AII'II3' O. IH         .~""i"Hci On        ,,,,ila,o'1I1 dei

                       (onua.o no afccc!a fn modo 31guno ala cl:iusula arbi.rnJ         ~" 3mI'Ol-V implK.'3   on aclOimposibk d..•



                       EN EL CASO de "l"EKMINACIUN del (ONT KI\TO. (OmO dClc nlli na eI nume",1 j.J dd




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                Principal de 1999. Pal 10 que l~ dl'tis;{111 d el Ju ezAD·QUO importa la Ll'Ml:r.,ion u " io lndOn

                <lei An. 1 L- de Is Ley de Atloilfllje y Conciliacio n No. 1770 yel deKonllCi ",i.llto deL Ilumcml

                14 d~l Con,'enio Inendon~do. amparadoen l~aullJn011lia de In "olun\)Oj asinun"lKlo pard "n.

                454" del C6di;oCi"il.

          bl    Fu lltb m" .. 10 d~ I~ d 'ldS\6n d" la &.1" Ci"jlll (Trlbu nml "d-'I"""')'

                EI Tribunal Ad-quem.n 13 po. te oons;dorntiva del " UIO de Vista "~ r~... b3 26 de roarode 2006

                opeya SU decisiOn en el p1\rt"fo III del An. 12'de 13 Le)' d~ Arl>;" "je y l:onciiiaciOn No. 1770.

                por.1 Que )'a sea ~I " ~; 1) ,l oclnr~ probada la excepcion de Mbi l nlj~, 0 il) deses timc la excepcion

                d. 3fbiLrnjc, cs SIN LUOAK A RECU RSO AI.GUNO. Porc ll O,anula el aUlod. con<;es ion dd

                ~curso de    apelaciOn)' dcd,,", ej«u toriada la resoluel6n del J ue~ Ao.oUO de 29 <Ie nll"7.ll de

                200~.    Resp.11da b d«;i;onlambitn en el AUiO Supremo No. 78 de II de abfil de 2005.

                Indudablemenle, no (om:sl"'nde cI =ursode ap:Laciilfl por d ispositiOn dtl ~il3<ko p;irr:lfo 11 del

                An_ l ~dc l~ l.crNo. I170.


                Lo~nterior    implica que: lanl u la lr..s~ i<'", 0 "iola~i{,n del An , II * de     I~   propia Loy No. 1770

                en que ~a i"tunidu cl Juc~ AD-QUO 11'; cnmn eI de5e(lnocim i~nlo dd numer..1 14' 'dd

                "Com'ell'" lie Veil/as)' S,n'lclol lid         Cu"c~)'i(JI""iu    /"'1'0"""0' (;lahll/" ancXO a l comram

                principal de L999, fundadOJ en          I~   autonom ia de la ,'oh",Lnd (An. 454" del C6d igo Civil)

                DEBEN QUF-OAR SIN LA O PCI6N I)I! 1~ IPUGNI\CI6N roR NINOUN MF.I)IO 0

                RECURSO?           A III~belW   cemllJo 0 coda posibilidad de reclamaci6n 0 impugnaciOn. quroa

                abie,1e d   ~"'pafo COOSlilu~ional     en resgu3rdo de Ius dtr"d~ fUOllbnlontales de las personllS )'

                que han sido lesionados, mo1iw d.l pr=nlC ,ccurw,

           V.   GAltANT IM            CONSTITUC IONES              F." PF:C IFICAS         I.ES LONAi.JAS          CON     LM

                 P EC IS !QNE S DE L TBIIlUNAI. AO_QI!F:i\l ,. AIl-OU(). IU;C URRIIlOS.

                 EI   T, i~unHI   Ad.qucm 01 ooul:u- el aUIO de concesi60 de alzada )' dcclarar ejcc:u lOfiadn la

                n."Snlue;{''' de rojas. 165 d e f« ha 29 de m:uzo de 200'1 (emilio.hl. 1'0' eI            J",,1.   AD-QIlO) ha

                conado wda posibilidad de red amacion            po!   bo. viajuri..Jic:eional   ~tdimeOlal        0 procCS31.

                 EI Ju,,"£ AO-QUO nl dcsesliol.ll" la excepci611 de arbilfllie de matltrn ""tjuinl<:p 0 ,'ulBemlOfia del

                 A". II" d o 1,\ Lc:y 1770,   ~in   1m po,ibilidmd de ""euno a i,,,,,,,, 11,\ IJEJADO SIN LlIG,\I{ A


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                        DEFCNSA de b ~mp'oa FOKU de NINGUNA NATU!tl\LE.ZA PROCE UIMEJ·;TAI.. 0

                        l'II.OCESt\I..JURISmCClONAL

                        Por 10 Wil l". "" qucda Olm opcion, s.:ftor".~ ~l a!'.istradol dd T,ilo,,,,,1 de ,\mparo. 4u,' I"

                        emp'~' rOEtl> ,,"<:urr~ al recul"Si.' 00 '''''1"'''' oons\ ilUcinnal ~n         ''-' '1:,,",<11. d e s us tJcr~(h"~



                   E"   In"l o l "b llid~,E   tid tl~.....,ho de dcrellU til Julrio d~ 1",la 1"''''''"11,

                        101tlc.~l,o de las perso na na luraics ojll.i,lieMa 10 dcfensa en juiclo Con,\ iIIJ}'C ""a                 ~"ro"ljo




                        tkdsi6n dd Juu '\d-quo dc 29 de              IJI3nU    de 200-1. ha ~"'rnnad" r' rorl~do cI m~I1I.;"n~,J"

                        dcn.-..:ho dedef.n""),, s.:3 pur I" v ;~"~ n.'"C IBmo 0 imp ugnati6njudkial.

                        F. I   J,,", AD·QUU a l de=l imar la ~.~ccpci6 n d. arbilr:rje " pU C.' I" 1M" In oorpolllci6n FU Kl)
                        anr par:ulK en 18 "UIU"lHU;" de 1lI'·olu"htd. d ' \ r1. II ~ de 13 u       y ~o.   1770)' tl nUIl\i'131 14' dl'l




                        del«ho d. defrnsa ok 13 corporaciOn FORD. dcbitlo 1I                1~   pmlrihk i6"   c.~ pr~'S;I   deln.'"Curso d~

                        'pd.ci<j" co,,!n. I" ,Ie.,," ;{," de 13 o"lo,idod jud icia l de p,;mcr~ inSlancia,
        'J



                        arbllrol, 11$1 PN', ;sto en     t.a parte ultima dd    ~m, ru   111 del A'I, 12' de la I.e)' /'10. 1170. hace

                        n:fcmlda n d .ni•." y limil3da 313 d~ .. ~ull ,au"",nio,a,hirrall' de NIN{iIJNA MANEIL\ t\

                        I.A FJF.CllCION rlEL CONTR,\TO PRI NCII'AL cornu en forma 100aimenlc                                      "rr~lI:r   )'

                        vioillllria h;l inl~rprc l3do d J UCl ALI ·QUO. V,I. dcc i•• ,j I" cI,ill , ul" a,hil", 1 c" " , "<>nk"j,lo

                        ~.\preSOlr:i condieionam ien lus imposibles de cll mpll., "c,bil:llll"ia: 'Ill" d "ib"""l"';l~ <""'ruc'>-!"

                        1l1li 100 '\,hi,_     0 '1ue se,,,,"omh. adOt< Ins i ,hi,fOS par una em i!bd inc~ iSl..m~. CIt .. imporul una

                        imposibil idad!lf oumpl imienloo ej e<uci6n.

                  1"    La ~U l onom la d, la       \'oJunl~d   dt las jltr$OlIa,.

                        EI p~'mr.. II dcl An. 6" de la C"", li lllci,,,, l'olllioo del E~IOdo gOnl" li7lr 0 looa person" I,




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                conS:I!:r:I la liben~d conlr:tctual d~ II' s IlClsonas p~ra crcu r I lII od in tlir 0 t~tinl:u ir ,I ero.hm ~.

                obli::ariun ~ cn nt rac t\l~IM (civ il "" 0 oomerciales) con la limit Hci6n de         lIue evite ~1tcr:tr 1m;

                my"" c""I" Cl'$.
                Coofonne seft~la Moti le. GuilUn (C6digo Civil, ootlcordatlo y anolOldo, ~g } 19), etJ,,;ncipio

                de 1m AUlonomla de 13 Voluntad, regulado por tl articulo 454 cilado,                     I.e   resume en lies

                poslulados: "I), Los ;"di"lulIfIs $'''' /ib11!.J d~ controlor y d;n:UI;, . en pic d~ /guafdud, IllS

                comlle/omJ: dmm";.,.,, d .,,,,,w.ida <I~ J u objt'o: combllll" It» ';pru de ,'onrr:.oIOJ P""'/SIOJ

                por   I" /rJ' u j""""111r mros Co",p/~Ulmel1le ''''e''",; 1) PIfII<l~" "Iegi, In h'glslncioll ntlis

                comw,I~lIle n su ,doc/olljllridicn 0 dI'.Jcurlor I" up/I,ucloll d e I(H/<I I~)' II"     rortklU '''ple/l;,;u;

                J) se d.·scOllOc,:, las /OTm<u ,1/,1011'.< y Iusforma.. snle"me,' $on I'; n;I'pt: /onole.; ") I", e/«;I(n tie

                101 COlltrmOJ. SOli los qlie 1m p<IrIU        mm queriJo darlt y 1001l'gla. d: /nurprt'laclOn 110 mig"''''
                o/jI4-godlY 1/. /uc"lImJ de       /W"", p.......ll;:c~r I~ cr;re,lo. $/"0 IQ inl<,,,dwu/,, /w pori",."
                 EI A,' . II " de Ii Ley No. 1170 ltConoce 13 ;nrkpo:ndfnc ;~ d" l~d8, .."laa,bitraICOfl rcrcfonda

                al COntralO prindpal. EI cun,-cllio ",!>ilral implica I:. renunda de 1:15 p;lltes ~1 PI\X'(SO ju~ici31

                (p~rrafo   I del An . 12" d. b Ley 1770)_ La re"''''cio 01 D,bill:'ljc 5010 proccde.              lamb i ~"   por

                "uluntad    ~~   1:I:l I.",h:.s n,·..,,,sari. menlc (art. 13" de la Ley 1770).

                EI J ua AIl·QUO, dl'SC'St ir03r I:. cxtel'ci6n de ~rbil",j" d" fOf"," ""Bth, ha rorn:ul.,.~d" d

                de"",hll fundamental de U pnson3J juriditas: FORD                      ~. CiANUDO S.A .. 8 Wlneler Sus


                coolrO\'el"$iu de 13      nalllr;r.lf~   que rlloren Y Bun dc:spuCs de \c'minada 13 relacwn COOlrJCIUJI.

                por 13 .'13. arbilf:ll   r tn ,·;ttud de Ia ."tollomi. de I. w,lunl!ld, como gar:mliza 01         p3rrafo I del

                Alt.6· de la C.r .E., Y<Iucda n:ile,.da II rnlifioMa por el An . 4540 del C6dil:lI Civi l y los Ans.

                 11°. 12"-1Y DOde la Ley No. 1770. EI opcm!loH lc justidn no puede supl ir la \'oluntad de                    la~


                 partes Clue dc .. rlllincn una fomon de sol ucionarsui CO lllllworslos, aOn se !f:llen de proccsos de

                nulidnd.

           JO    La lIusenda     d e5t1l und~ d     ju ridi, .. en b. detisi,j" del JuCl All -QUO.

                EI An. JS· d" la Const;,,,"i6,, Polilicadel 811100 g;IIlInliu Clut aCllJel10s princip;'" y I:"r.onl ;~'

                 fp,,,la,,,,,nlalc:s de las roe,sonas. como 11 rcferida a 13 "UN IIr /I",d iunf/ifU " s<> "all"" lamb'.n

                 inoo"",rftd~'l"'r       amrli,ud.       impH<i("".o,,(~   """''' d",,"hos r""dMl."'a!e< de t:l$ p.,,,,nas.


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                           EI I" j""ipio de: ~Jr;:",jJlldjuridlcl! ~. \I dl'C ir Manuel Ossofin. ts IIna ~(lIndki6n csendal p.1"~

                           In I' ida) d dc,."woll'imiento de: las nRcinn~s y Ik los indil·iduIIS qu~ 13 inlcl:'''''''. F.s'", ~:oron1~1

                           ·· ••'1"<."'111(' III i!"'W,tfll "~ I,, "1'1""<1("/';" oh}el;,,' d~ lu 1<,)" .I" 1/1/ ",,,d,, '1"" lw "II/i,·i,/"",

                          .«Ihm ..., eell/"   ",,,,,,,,,II" """I<'j SOn SI'1 cle ...-c/IOs )' SIIS ohli;:"";",,,'.• ". sin 4u,,- ell-Jprid">,, ."
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                           c ...:ne,Il'. "i.gcntc ~n todll " E~tad" de      Ikf« ho~.


                           w   p:me s h:,n ,c,;" cll" ' I"" I,,-~ l"\rlu,,"cf!;ill5 · a(", "" cI c"-'" d~ tcnlllnad6n dd contml ;'" ,." ",

                           rc,,,,eh"j IJI>r u" Tribun al Arbitral; al dese.!'i"".. I" except i6n de arbilr;tie. cI J ""' "n·OlJO ~c

                           ha d,-...,Inr~,llt wn oompciCocia e n con lr~ ck la au'.otKlmin lit I~ \'o h," l ~rl d. 1,,-,        part", que hal'
                           deddido mt unc iar;d p"",esojudic;,,1 (00"''' detemlina el pirrn fo I dd                  A.'. I !"de In Ley No.
                           I11U) "",.~ •.:wl,·c. b l"1J1lI" ""c,, ia su,..,itlld~ enlre FORD MOTOR COM PA NY ~. In socico:bd

                           (jAU NDO S./\.. de manera que             ~a   ,u curridu e" la ",,,"',,,on d~    I ~ ~rnn t!~   CQnstilucion,,1 dd

                           Art. 3 I" de III COnsti1uti6n     Po\itic~ d~1    EsI. do ,!, 'c co"", srn que $O n l1 ulos IQS actos de <jui~",'>

                           USU!p(11 j urisdiccion y coml""       ~"d..    4"e "0 emane de 13 ley. Acto 'lilt impon" una ~!:r.l\"ante b t.

                           C"",". ia ;" he",,,,c II I. q uridmd Jurldkll             q llt:!Ie h~lIa   obligatio a 'c.,!;u;.. d;u d ",."nid."

                           publico,

                           I'" manCrn    q~",    cI Ju el AD ·QUO ha cQncu k . d" lsl:3f1l lltiA C'"l<t'l"cinl1al             d~   13 SCjEurldlid

                           jurlclica III d~<'Sti"'"r I. cxcc l"" U" de arbilraje m~d i;ml e una aprcd~du'l .kl p~ 'rilf" II I pane

                           filllli del An. ll' d.l"    L~y   1110 en fOfm" "M"lme".~c"ooea)               " iolalori~ dc    los Arts. II ". 11'·[

                           Y 13' <k In II"",;a Ley 1'\0. 17711. 1.II '~lnion de 1;15 nonnas k~k~ ind ic.. d~j. ;"'IMlI' • •                  11'.
                           ;uUKu"""dj"rldlru pm" I. pef$<)lIajurldim: FORD.                     mas au". (I I habo.-rs.:;uscr ilod COIl1,nt.~
                           l' , i"~i l',,1 y I'''' Hn ex"" [uera dcllcu ilorio 001 i"iano ~' 5ujeta a las le)'c5 dd &iladu d" Mi~h;!}",

                           d ~ los Cstados Uni dos de "'onca n'~rica, I'o r 10 que I. d:iu~ul" ",bi llll,ic j"'c" ,,,,, i,,,,,,1. . cs "h~

                           totalmem e IIIjena a 1115 oonnas su$tant;"as de n uestro p;lis. y fund:tda en 13 ' -olu nl:ul o amonu<n'3

                           de las ""n eS.1>c m3nelOl que Ja IM~lIrl"Qd j"rldku pn.)I'ocada purla d,,,,;,s iull dd J"c~ AI),

                           QUO tiene aim n13}"ar s illnifi ead6n en el ~andc n .. d~ J"" pa i....., r" ~la dd l~"itur;" buli\-i, ' M.,

                   VI.     rETl C I6r",

                   L:n m<,. i,,, de la u po.k;on      ,d~t.>da    )' 10. fi"><hmcn',,. juridic". que de""'nn In




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           d~r.echQ5   y a:U:lII lias ~ollsliIU,iO"~h;S incurridas l~n[() pur par l~ de 10$ ~ "orCl< VOCA Ll!S d" 1:0 Su ln

           Ci\'jl ll lk la Con,. Superior del Disl,;lo Judicial de Cochal>amba: Dn.!- M:lri2 dcl C" ml t n I',,,,u ti e

           la R ..... h:r , Ora . Vlrgl nl .. Roc3h31l o Ar~"i ri r eI ~tnnr JU t! de I'"rl,'[o 7" en 10 Ci"I I: Ilr. Ua. ili o

           Cr u( Chilo, t" nomb~ y ttpn:scnu.ei6n legal d~ I.. ~rsol\3jurfdiea F ORO MOTOR CO)I I'ANY

           (FOIW) sol,eilo al     Resp(labl ~ Tr,bung l d~   ,\ mparo. ~" ol'licru: I6n de 105 :utic"locillldos y mcroc:ium.dos

           m elite IIIcnmria l. se de-cla r" ProcedcUlC r h31><>r l"l:"r al ~"'poro (0 "";tu6... ,,,1 )' como cons«'Ucnr.;i"

           de clio. sc: di'ipOn&3/.)   ~ dej~ sin el mo kg:ll 0 d«lrue inaplicable 13 dl,."'I:lara:::I6n de cj«uloria del a" ro
                                 •
           de 29 d~ m:,rto d~ 2l.XJ..l co nlenida en la p~'le   [jn~l   del AUIO de Vi$lutk fs.   I '.I~   de fceha 26 de m~ )\) de

           200b; I', ii) 51: delermine que tl Jun AD.()UO d~ eun.plimienlOal p:\mro III del All. Irde la Ley de

           Arhilraj e)' Conciliaei6n No. 171C) "''C' _randD         I'rob ~do   10 uccpr l6 n . Ie arbllrAJc opuesla pol 13

           corporati6n FORD MOTO R COMPANY                    CO"   la l>:'nis;ul1 de "bradw a conocin,icnlD dd T, ibunAI

           AIbil,~1   ",,",v,,,,;"" "'" 1:11; p.1nes. con la im~icicl,. de eos'l1S.

           OT Ros ll · s~ ordellt In Cil~c i6n a !Ol distinl,\uido' sc,lorcs Voc ales de 13 Sala C,villl de la CorlC

           Superiordell>islrilo Judidal d~ Cochahamba osl co mo al senor Jnez de Part ido 7" en IoCivil, ':U)'05

           oj,IIDS ~c delallan en d i"ido de ktc memorial.

           OTRos i r L.ls SC 13S I!200J-R. 81 ~/2UI)6. K)" cl AC 282f'..ooc.- RCA ""t:dJlca .. ~~)mo r,",!uisil0 la

           citaci6n a Tc rr:cros Inl(A.'S>.dos, pm. cI clISO dc que cl :lmp.1IO, ernetj ~ de un InOl.~ ju.!i,i.1 "

           3dn,ini';lrati,·o. I'm la nlO, ell 111"1""" de las nOnn.tS mendonad;u, !l()li.:ilarnos al nihun, l de Amparo

           dispnngn Ia cilaei6n ptl'$Onal 0 por Ctdu ia d" los 1e..xros ;'lIc.-.sados: 13 sociedJd GAUNDO SA , en 1a

           persona de l senor l!mique Galindo Iluetta, c.1.l'o. 9121171. con da mi, ilio en 13 c~lIc Lib;,;rt"dor n~liVllr

           ND.I-I lf, dcestaciudad.

           UTHos i y So adju1\la 13 pruebJ docu mental, co,,~ i "c"le ell I"" ~Isuienres docurnenlos:

                  Mcm(lfial de o.,,,lallda prcsenra® pn.r GALINDO S.A.

                  McmOfi:r1 de ex.cpciQn de a,bilrnjc de FORD ,\ lOTOR COM PANY.

                  kesoluei6n del Juet Ad~uo de 29 de rnaI'm de 2~.

                  Auto de VisJa de rs. 19-1 de r«ha 26 de m3}"O de 2006.




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                   . OTROsi     so   Dumicilin rnl«Sll; I. Stc~tarla de C';',,,.m.

                   Ju.'lkj~.   euchah""'h", g ... ~ <Jit:icmhrc de 200b




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                        EXHIBIT I
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                             7'r ;




                                                        ~Mi.;
                                                         QU-
                                                PODER JUDICIAl DE LA NACl6N
                                          CORTE SUPERIOR DE JUSTICIA CDCHABAMBA
                                                 5AI..A P~HAl TrRCf:RA .


              Recurso. Amparo ConmituclOflal
              P Oemandante FOR~ MOTOR COMPANY
              Q\.~fellado· Sala Civil Segundo y Juez .,. de: Partido en 10 Civd


                      Cochabamba. 2 de febrero de 2.007

                    VISTaS: EI Recurso de Amparo Constitutional interpuesto en!echa 09 de
              dlciembre de 2006 par Primibvo Guberrez Sanohez, en repreaentaoi6n d. FORD
              MOTOR COMPANY. contm los ores " Basilio Cruz Chilo. Marla de! Cer""", Ponce
              de Rocha y VirgInia Rocabado Ayaviri. Juez de Partido 7' en materia Civil de esta
              Capital • • 1 primero. y Vocelee de la S... Civil Segunda, las dO'S otiirnao, sue
              antecedentes, 10 expuesto en audiencla; Y.

                      CONSIDERANDO II: Conforme dispone eI art. 19 de la Consti11lci6n Politico
              del Estado oonoordantv con .1 art. 904 de III Ley No. 1836: "PrO(Oedera.1 recurllO
              de Amparo ConstftUclonal contra toda resolucl6n, acto U omlsl¢" Indebkia de
              autoridad 0 funcionario, ~Qompr.. que no hu.biere ob"o media 0 racurso para la
              protecclon Inm9cUata de los derectlos y garantlas, aSI como contra tOdo acto u
              omisi6n indebida de persona 0 grupo de personas particulares que rostrinjan,
              5upriman 0 amenaoen restrlnglr 0 :suprimir los derechos 0 gar.nUes reconocidoe
              pot' 10 ConstituciOn PoIllIca del Estado y las Leyes"

                           CONSIDERANDO: VeriflC8dO$ los reQuisnos de form. qua debe
              contener todo rec::ur&O de amparo conetitucional, conforme manda &1 ert. 97 de Ie
              Ley del Tlibunal Constituclonal, so establece que eI amparo soIlcitado por Primitlvo
              GutiQrrQZ Sanchez, .n reprewntaciOn de FORD MOTOR COMPANY, no acradfta
              sunclenremente la personerla del recurrente; como se rundamenta en 81 anausis
              que sigue a continuaci6n:
                      I. lodes las pel'$ona~ comprendidas en el art. 5 del C6digo de Comercio. sa
              encuentren obligadas a acreditar ante la autoridad jurisdicc~nal au matricula ~
              Reglstro de Comerclo, conforme seftala el art 33 del mlsmo cuerpo legal, que
              pr~&Crib9 ; "LOll jUtWH ante quJ4HJQ$ OOU"8n 10Ij oOfflfWollmtN deben exigir_
              esros que acredtren prevltlmente su matrfcula dfll Reglstro de ComfN'CIo-,
              asimismo, y de manera concordante. el art. 165 del COdigo de Comercio,
              eatoblocoo: tiL.. deo;9ntnJ;on y o . ."ui6n d_ edminhllrKorfM y r.pre_entlJflt. .
              deben fnscrfblrse en el reglstro de Comerclo con Indlcllcf6n express de fIlS
              fllCultJMJu oIoiyJMIN en S. Ncritur. de cOlJlllitucJ6n 0 8ft eI Podar conferido
              anre NorM1o de Fe I'ObJlc • . La lalla (/e inSCrlpcJ6n no ptIIJudlca • rercaros-,Io
              que stgnifica que la empr~a recurrente debe acreditar no sOlo la matrlcula de ta
              empress inscrlte en el Registro de Coman;:io, sino tIImb;en la deslgnacion del
              representante legal que partlclpa en la InterposlcfOn ~ presente recurso de
              amparo OOfl8titucional inserita en eae regiatro, en aplicaciOn de k>s arts. 27 y 29 del
              repeUdo tuerpo de Ie,....
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                  5i bien es cierto que el instrumento de pode, adjunto. de         f7 • Is. 25.
          cumpIe con 01 requieilo de validw...,...m., on 01 art. 13011 dol COdigo Civil, _
          es fotocopla del original. legallZada PO' la1ur,clonarla que es Ia depoeltarla legal de
          ese documento. Ora. Tatiana Teran de Velasco. Notano PUblico N' 61 del. ciudad
          de Ie La paz; sin embargo, no acredits Ie matricula del Registro de ComOfoio de
          FORO MOTOR COMPANY Y tampoco .1 'eglstro de deslgnatlOn de su
          roproSDntante leg:al, PI.H$, aUllque an 18 fc.tocopla legaHzad.a aparace QI "Ilo
          marginal de la onclna del Reglstro de COmerclo, lIste carece de valor legal porque
          no ssta legallzado por al funcionario que tiene a su cargo el Registro de Comercio.
                 5i bien es cierto que la empresa FORO MOTOR COMPANY tiene sode en
          Estadoili Unidos de Norteam.noa; sin embargo, ellla situBOion no oxime a su
          fepresentante de cumpllr con las dlsposjclones legales que han sldo cltadas
          prececienkimoni.Q;, para actuar on pr~ judiciale.. con 101 5Ufir;ionte per50neria.
          En tOdo caso, eI recurrente no acredtto que el Instrumento pabllco que -senaJa-
          fue otorgado en el extranjero. cumpla las formes alii establecidas~ C<lnforme
          estabfece al art 12941 del C6dtgO CIViL

                 Conforme a 10 expuesto. por carecer de la formalidad legal observada. el
          testimonio de pode, N° 49312003. de 'ache 11 de novlembre de 2003. otorgado
          por la Notarla 'Cie Fe Publ!ca N- 61 de la eluded Cie la Paz. Ora. Tetlana Teran de
          VQla&oo,  &$ m&.uficiente para acreditar la pwsonerla de Primitivo Gutierrw
          Sanchez. en repres.ntaciOn de FORO MOTOR COMPANY.
                 Por otro lado,   s~mpre   con relaci6n a la personerla jurldlca del recurrente. 91
          testimonio de poder que scompeft6 , Ie otorga faoultades para interwnir. "....n
          defensa de la empresa dentro del proceso cMI ordlnarlo Inlclado por
          AUTOMOTORES GALINDO SA. 'i actualmQnte radicado en QI Juzgado Septimo
          de Partido en 10 Civil del Dlstrtto de COChabamba-Repllbllca de Bolivia ... "; pero no
          Ie contiere poder expreso para actuar en el presente recurso de amparo
          eonstitucional 'I dirigir la acci6n contra el Juez Septimo de Partido en 10 civil 0 las
          Vocales de!a Sala CMI Segul'l<fa del. Corte de JusUcia de Cochabamba.

                 AI respecto. 61 art. 809 del C6dlgo Civil astablece: "EI mandato es especial
          para uno 0 muchos negoc-Ios determinados: 0 general para lodos los negocios del
          m3ndante~ EI poder especial 56 otorga a a!gulen para actos determlnados y
          wolamente para Qllo&. Para Qctuar en prOCQ60s judicial9S ~ r4ilquiere poder
          especial , conforme prescrfbe el art. 03!5 del COdlgo eMI , paragrafo I: -EI poder
          general no confiere facunades para los actos judiciales que por su naturaleza
          eXlje" poderes 8epeoiales 0 Ie presenola personal del tnteresado".

                 En el caso. el poder conferido por FORO MOTOR COMPANY se otorg6
          para actusr dentro del prooeao ordinaria inlOiado por Galindo SA.• pero no para
          actuar en este recurso de amparo constltuclonal seguldo contra las autortdades
          judicial... daI Juzgado de Partido Soptimo on 10 Civil tjQ I. ~pital y Sala Civil
          Segunda; es declr, ese mandato no as especial para que el recurrente actOe en
          esta acci6n. porque carece de atribuci6n especffica en ese sentido. Esto quiera
          declr que 01 testimonio preaentado por e1 recurrente &5 insuflciente para acredltsr
          su personerla.
                 II. Ei testimonio de poder que utiliza el recurrente para actuar en esta
          acciOn, tampooo oumple Is disposioi6n del art. 402 del C6digo de Prooedimiento
          CMI. porque no ha sldo presentado en su Integ~dad . en idloma espanol. contiene
          aun pal1e$ an idiom. oxtran,iero que ~ encuentran sin traducir, Elita situaci6n


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                  invalida 01 valor ""obatorio procesal do eoa irr.;trumento, Y refueIza I. conclusi6n
                  de que .1 recurrente no ha acreditado dobidamente su peraonerf•.
                         III, EI Tribunal Constitucional ha ostablecido qlHl hi Mola solicitada debe sar
                  expro=. clara y preciH. conforme el requioito de conu.nido previsto en. .'ert, 97.
                  paragrato VI de fa Ley del Tribunal CortStltuclonal, que exfge preclsar e! atnparo
                  que" &<>licita, vinculado al opjoto dol rQ9UI'$O 0 C8Uia petendi. a objeto de ~u.1a
                  ResoluclOn que emlta 81 organo jurlS<Ucclonal que conoce y define el recurso
                  guards congruencia con 10 Clue se pide (petitium del recurso) . Est9 entendimiento
                  ISO encuentr. reflejado en la S.ntenota Conetitucional N° 0366I2006-R, de 13 de
                  abrll de 2~, que sel\ala'"(. ,j Por prlnclpto general, el Juez do tutela esIJII
                  obUgado a concode, 5OIamonto 10 quo n Ie ha ~ido; GoSto muub'a I. 8f'IOrI1NI
                  imponancta que dane ej pet1tIum de la causa, pues. al Juez esta VincuJado a •
                  misma; e::;to es, debers acceder. 0 negar 01 potitario formulado; solo
                  oxcepclonalmente, dada Ie natureleza da loa der&choo protegi:doa eo poei~ que
                  ef Juez constftUciOnal pueda conceder una MeJa uttra petfta, de cars a dar
                  efeotivldad e inmedlalez a la prot9Ccion del derooho 0 la garantla vulnarada,
                  ruando adVIerta que exlstlo error a Uempo de formular et petttor1o. EXtremo que
                  debera ser ponderado en cada caso concreto. al tratarse de una excepci6n C..)".
                          En el caso, el recurrente no fija con precisi6n el amparo que solicita, porque
                  en su petitum no expresa que &e de';' $in etedo eI auto prOl'U.lnCiedo por eI J ....
                  S~p!lmo de Partido en 10 Civil, de techa 29 de marzo de 2004: sin embargo,
                  solicita que 81 nombrado JuQZ doolan~ probada la Qxcepcion do Qrbitrajo que opuao
                  en representacton de Ford Motor COmpany; 10 que slgnl11ca que estando \1gente ta
                  primera resoluci6n habr1a que aC9ptar que se dicta otta parala!s en sentido
                  contrano; 8ituBoi6n que reaulta Incongruente y contraria a todo orden jurldioc. Par
                  asta motivo. sa establece que al recurrente l"cumpll6 la prevlsl6n del art. 97,
                  paragrafo VI d" 10iI Loy do' Tribunal Conditucional, cuyor. alcancfi ~n
                  expresados en el entendlmlento JurlsprudencJal c/tado en el parrato prececrenta.

                                 IV." Con relacion a la improcedencia del amparo por cuesti6n de
                  subsidianedBd. 81 Tribunal Constiiuclonal, mediante Sentenoia NO 80812006, do
                  tacha 17 de agosto de 2006. establece "Que. et carecter subsldlarlo del recurso de
                  amparu, hOi sido daurrollado por abundantQ jun5prudancta de QiOto Tribunal, asl
                  !enemos las SSCC 1C>a9l2003-R, O~212003-R, 01De12003-R, 037412002-R, entre
                  otras. que sertalan que no podri ser intarpuesta esta acci6n extraordinaria.
                  mlentras no "$e hays he<:ho uso de los recurso5 ordlnarios 0 admlnlstrativo$ Y, en
                  caso de habsr utllizado los m!smos debef;!n ser agotados dentro de ese proceso 0
                  via logal, ~a judicial 0 adminiGtrabva, &alvo que la rGstricci6n 0 GuprGsi6n do 10&
                  derechos y garantlas constJtucJonales ocaslone perJult10 Irremedlabk1 e
                  irreparable.
                         Que. de ese entendimiento jurisprudencial. sa axtraen las siguientes reglas
                  y subreglas de Improcedenoia de amp'ro por 5ubsldiarieddd cuando: 1) In
                  autorldades Judiclales 0 admlnlstratlva' no han tenldola pbs/bllfdad.!Ie
                  pronuneiarsG Irobra un 'OiI5unto porqUG 101 parte n"o hOi utilizado un medio do dCiforiA
                  nt ha planteado recurso alguno. as!: a) cuando en su oponunldad y en plazo legal
                  no sa piante6 un recurso 0 medio de impugnaci6n y b) cuand9 no se utiltz6 un
                  medio de defenaa previsto en el ordenamie:nto jurldico: y 2) IBIS Blutorid~
                  judlciales 0 admlnlstrativas pudleron haber tenldo 0 Henan fa poslblltdad de
                  pronunciQl'$o, potquo I", parto utilizo rocul'$.O& Y modi~ do d$fonsa., a~l ; a) cuan<io
                  sa planteo el r9Curso pero de manera Incorrecta, que sa darla en casos de



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     planteamientos extemporimeos 0 equt'locados y b) cuando &e utiliz6 un media de
     defens8 uti! y procedente para la defensa de un dertocho, pera en su tramite &1
     mlsmo no se agoto, eslando al momento de la Interposlclon V tramltaclOn del
     amparo, pendiente de resoluci6n. Ambos casas, se excluyen de fa excepci6n al
     principia de subsidiaridad. que ge da ouando Ie re9triCGiOn 0 ~upre5iOn de los
     derechos y garantlas constttucionaies denunclados, ocaslonen perjU!clo
     irremadiable e irroparabla, en cuya $ltuaci6n y de ma""ra ~xcepcional, procode 101
     tutela demandada, aUn exIstan otros mOdlos de defansa y recursos pendlent&S de
     resoluci6n-.

             En el caso, aunque el recurrente interpuso en el juicio ordinario civil que S8
     tremita ante eJ Juzgado .,. de Partido en 10 Ctvil de la Capital, recuroo de ape6aci6n
     contra la resoluclOn de la autorkiad Judicia! de ese Juzgado, de fecha 29 de Marzo
     de 2004, en fonna orrada. porCjUQ e&e ruoJuciOn rHuitab&! immpugnabkt por
     dlsposlclOn del an. 12, par3grafo III dela ley de Arbltraje V concillaclon, mlentras
     el recurso estuvo pendiente de resoluci6n. suspendi6 el plazo de 6 meses y 91
     recurrente oonservo of derecho de aoeionaf Po' via del recurse de ampora
     constttuctonat a partir de la notmcaclon con ef auto de vfsta de fecha 26 de mayo
     dQl 2006, resofuci6n q~ SQ IQI notific6 Qln feeha 0 d. junio de 2006 (conformQl SQ
     evfdencla de la dlllgencia que corre a rs. 194 vita. de! proceso ordlnarlo pr1nclpal).

           EI Tribunal Constitucional ha establacido mediante Sentencia ConstitucfOf1al
     N' 77012003. de 6 d. junio de 2003. que el plazo maximo dentro del cual se debe
     eceionar la tutela de este recureo os de seis me&es, termin~ que &e computel a
     partir del IlIUmo reclamo que sa efectOa respecto de los aetas que leslonan 0
     vulneran ~ oQrochos y garantias constituck>naJQ$. En oJ caso, 01 plazo conio a
     partir de ta noMcaclon con 91 auto de Vista de 2e de mayo de 2~ al recurrente,
     que se produjo en fecha 9 de iunio de 2006 (rs. 194 vita. del expedienle principal)
     y feneoi6 en fecha 9 de diciembre de 2006, fachs en que precisamerne 01
     recurrente Interpuso el presente recurso de amparo constttuclonal, Impldlendo la
     prGSl;ripci6n de $U darec.no dQ accion~r por el transcurso del tiompo.

            En cons(lcuencia. aunque sf principjl) de subsidiarieded no es aplicable sl
     caso, la situaci6n ~.,nte8da no           5e   enclJentra dentro d., 10::1 II!I!I¢on~ Y previoion«r.l
     del art. 19 de 13 Constituc16n Polltiea lie! Estado y n() cump!e los requls!fos de! art
     97 , part.grafos I y V1 de la loy del Tribunal Constitucional, de manera que
     corresponde declarar la ImprOCedencia del recurso de amparo presentat10 por
     Primitivo Gutierrez StJnchsz.

             POR TANTO: La Sala Penal Tercera de la Cone Superior de Justicia do
     06te Diatrito JudlCIOl , dei;:Jara IMPROCEOENTE of omparo sohcitudo pof Pnmltlvo
     Gutierrez Sanchez. de recha 09 de dtciembre de 2006

             Conforme la prevision del artiCulo l02N de la Ley 18"36. e1t1veso en revis!6n
     III presente rescHuolOn ante el Tnbunal Constitu(llontlj en                     eJ   ~IIZO   de 24 h0f85.-
     Re<Jistrese.

             Vocal relator: Or. Juan Marcos Terrazas Rojas.
            Fdo. Of Angitl ViIl~rIOo.lI Pia: y 01 J ..~" M.. ICQ:i T",no...=,l,.., Pi~.J.nte y VOUII Ll. 1-01 Seal..
     Penel TereCflll Ame ml be(;reterla Uoy Ie
             EscoorormJ!'
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                        EXHIBIT J
 Tribunal
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     SENTENCIA CONSTITUCIONAL 0583/2010-R
     Sucre, 12 de Julio de 2010

     Expediente: 2007-15412-31-RAC
     Distrito: Cochabamba
     Magistrado Relator: Dr. Juan Lanchipa Ponce

     En revisi6n la Resoluci6n de 2 de febrero de 2007, cursante de fs. 89 a 90 vta., pronunciada
     por la Sala Penal Tercera de la Corte Superior del Distrito Judicial de Cochabamba dentro
     del recurso de amparo constitucional, ahora acci6n de amparo constitucional interpuesto por
     Primitivo Gutierrez Sanchez en representaci6n de Ford Motor Company contra Virginia
     Rocabado Ayaviri, Maria del Carmen Ponce de Rocha, Vocales de la Sala Civil Segunda de
     la Corte Superior de Justicia; y, Basilio Cruz Chilo, Juez Septimo de Partido en 10 Civil y
     Comercial todos del mismo Distrito Judicial, alegando la vulneraci6n de los derechos de la
     empresa que representa a la seguridad juridica y a la defensa, citando al efecto los arts. 7 inc.
     a) y 16.II de la Constituci6n Politica del Estado abrogada (CPEabrg).

     I. ANTECEDENTES CON RELEVANCIA JURlDICA

     1.1. Contenido del recurSO

     1.1.1. Hechos que motivan el recurSO

     El recurrente en el memorial presentado el 9 de diciembre de 2006, cursante de fs. 27 a 31,
     manifiesta que el 2 de agosto de 2002, la Sociedad Galindo S.A., interpuso demanda
     ordinaria por resarcimiento de dafios y prejuicios contra la empresa que representa, la que a
     su vez el 14 de noviembre de 2003, interpuso excepci6n de arbitraje, que fue desestimada
     por el Juez ad-quo (sic) por Resoluci6n de 29 de marzo de 2004; contra la que se interpuso
     recurSO de apelaci6n, habiendo la Sala Civil Segunda del Distrito Judicial de Cochabamba,
     dictado Auto de Vista de 26 de mayo de 2006, anulando el Auto de concesi6n del recurSO de
     apelaci6n y declarando ejecutoriada la Resoluci6n que desestima la excepci6n de arbitraje;
     sefialando el inferior que al haber la compafiia Ford, terminado unilateralmente el contrato,
     resulta imposible llevar el reclamo a la via arbitral en aplicaci6n del art. 12.II1 de la Ley
     1770 de lOde marzo de 1997, sin tomar en cuenta 10 previsto por el art. 11 de la misma Ley
     sobre la autonomia del convenio arbitral, haciendo referencia al contrato de 1999,
     denominado Convenio de Ventas y Servicios del Concesionario Importador Global, que
     establece que a la terminaci6n del contrato y de cualquiera 0 todos sus anexos se pondra en
     marcha el siguiente procedimiento que constituira un recurSO exclusivo para las partes y
     correspondera el arbitraje, por 10 que la terminaci6n unilateral del contrato no afecta de
     modo alguno la clausula arbitral y tampoco implica un acto de imposible de ejecuci6n.

     1.1.2.Derechos supuestamente vulnerados

     El recurrente estima vulnerados los derechos de la empresa que representa a la seguridad
     juridica y a la defensa citando al efecto los arts. 7 inc. a) y 16.II de la CPEabrg.


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      1.1.3. Autoridades judiciales recurridas y petitorio

     Con esos antecedentes interpone recurso de amparo constitucional contra Virginia Rocabado
     Ayaviri y Maria del Cannen Ponce de Rocha, Vocales de la Sala Civil Segunda de la Corte
     Superior; y Basilio Cruz Chilo, Juez Septimo de Partido en 10 Civil y Comercial todos del
     Distrito Judicial de La Paz, solicitando se declare procedente el recurso y deje sin efecto la
     declaraci6n de ejecutoria del Auto de 29 de marzo de 2004 y el ad-quo (sic) cumpla el art.
     12.II1 de la Ley 1770, declarando probada la excepci6n de arbitraje, remitiendo obrados a la
     autoridad competente.

     1.2. Audiencia y resoluci6n del Tribunal de garantias

     Efectuada la audiencia publica el 2 de febrero de 2007, conforme consta del acta que cursa
     de fs. 85 a 88 vIta., con la presencia del recurrente y el tercero interesado y en ausencia de las
     autoridades recurridas, como el representante del Ministerio Publico se produjeron los
     siguientes actuados:

     1.2.1. Ratificaci6n y ampliaci6n del recurso

     El recurrente ratifico los terminos del recuso planteado y ampliando; sefialo que la compafiia
     y el concesionario deben someterse a un periodo de reuniones y si dentro de treinta dias no
     se llega a una conciliaci6n, corresponde acudir al arbitraje ante la autoridad competente que
     es la Asociaci6n Americana de Arbitraje, por cuando el contrato fue firmado en Estados
     Unidos, en cuya instancia las partes nombran en forma conjunta un arbitro y si no 10 hacen la
     comisi6n procede con el correspondiente nombramiento.

     1.2.2. Informe de las autoridades recurridas

     Las Vocales recurridas, en el informe escrito cursante de fs. 70 a 71, sefialaron; 1) El poder
     acompafiado al recurso es insuficiente, pues la fotocopia no esta legalizada con el sella de la
     Fundacion para el Desarrollo Empresarial (FUNDEMPRESA), por 10 que no debi6 ser
     admitido; y, 2) Ratifican integramente 10 resuelto en el Auto de Vista de 26 de mayo de
     2006, ya que en ning(m momento violaron el derecho a la seguridad juridica, ni a la defensa
     ya que de 10 unico que se acusa en el recurso, es haber declarado ejecutoriado el Auto
     apelado, decisi6n que se enmarca a las disposiciones procedimentales y al principio de
     preclusion.

     El Juez correcurrido, presento informe escrito, cursante de fs. 72 a 74, en el que indica: a)
     Galindo S.A. el 2 de agosto de 2002 dedujo proceso ordinario contra Ford Motor Company
     por resarcimiento de dafios y perjuicios, la que citada opuso excepci6n de arbitraje; b) La que
     por Auto de 29 de marzo de 2004, desestim6 la excepci6n porque el convenio arbitral esta
     legislado por el art. 10 y la excepci6n por el art. 12 ambos, de la Ley 1770, pues la compafiia
     decidi6 terminar con la vigencia del contrato por decisi6n unilateral, y sobre los dafios
     reclamados por el concesionario, resulta imposible llevar a la via arbitral, conforme sefiala el
     art. 12.III de la citada Ley, ademas la Resoluci6n fue pronunciada en aplicaci6n de los arts.
     519 Y 520 del C6digo Civil (CC), aplicable supletoriamente por disposici6n del art. 97 de la
     Ley 1770; y, c) La ley nacional rige para todos los habitantes, sean nacionales 0 extranjeros
     domiciliados, 0 transeuntes, bajo el principio de territorialidad sefialado en los arts. 2, 228 Y
     229 de la CPEabrg.

     1.2.3. Intervenci6n del tercero interesado

     Enrique Galindo Huerta, por Galindo S.A. en el memorial curs ante de de fs. 75 a 77, indica
     que la Resoluci6n que desestima la excepci6n de arbitraje, no admite recurso ulterior y que


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      desde la notificaci6n a la empresa transcurrieron dos afios y nueve meses, cuando el amparo
      debe ser presentado dentro de los seis meses, por 10 que debi6 ser rechazado in limine. El
      apoderado no tiene legitimaci6n activa porque no cumpli6 10 dispuesto en los arts. 809, 811
      y 835 del CC y 97.1 de la Ley 1836 de 1 e abril de1998.

      1.2.4. Resoluci6n

      La Sala Penal Tercera de la Corte Superior del Distrito Judicial de Cochabamba, constituida
      en Tribunal de Garantias, dict6 Resoluci6n de 2 de febrero de 2007, declarando
      improcedente el recurso, con los siguientes fundamentos: i) La demanda de amparo no
      cumple los requisitos establecidos por el art. 94 de la Ley del Tribunal Constitucional (LTC),
      porque no se acredit6 de manera suficiente la personeria del demandante, concord ante con
      los arts. 809 Y 835 del CC, asimismo no se dio cumplimiento al art. 402 del C6digo de
      Procedimiento Civil (CPC); ii) La Compafiia demandante no adecuo el amparo conforme
      prescriben los arts. 5, 27, 29, 33 y 165 del C6digo de Comercio (Ccom), por cuanto no
      acompafia su matricula de registro de comercio que acredite a su representante legal; iii) El
      amparo no se encuentra dentro los alcances y previsiones del art. 19 de la CPEabrg y no
      cumple los requisitos del art. 97 I. y VI de la LTC; y iv) Que adem as el recurso ha sido
      interpuesto extemporaneamente, toda vez que el Auto de Vista impugnado ha sido notificado .
      el 9 de junio de 2006, y esta acci6n tutelar fue presentada el 9 de diciembre del mismo afio.

      1.3. Tramite procesal en el Tribunal Constitucional

      Por Acuerdo Jurisdiccional 00112010 de 8 de marzo, se sefial6 el reinicio de las labores
      jurisdiccionales, a cuya consecuencia se procedi6 al sorteo de la presente causa el 18 de
      mayo de 2010, por 10 que la Sentencia Constitucional es pronunciada dentro de plazo.

      II. CONCLUSIONES

      De la atenta revisi6n y compulsa de los antecedentes que cursan en obrados se establece 10
      siguiente:

      II.I.El 2 de agosto de 2002, Galindo S.A. interpuso juicio ordinario contra Ford Motor
      Company, sobre resarcimiento de dafios y perjuicios radicado en el Juzgado Septimo de
      Partido en 10 Civil y Comercial del Distrito Judicial de Cochabamba a cargo del Juez
      recurrido (fs. 34 a 37 vta.).

      II.2. En el memorial presentado el 24 de noviembre de 2003, la represent ante de Ford Motor
      Comapany interpuso excepci6n de arbitraje (fs. 38 a 40), la que fue desestimada por el Juez
      recurrido por Auto de 29 de agosto de 2004, con el fundamento que la nombrada Compafiia
      termin6 con la vigencia del contrato por decisi6n unilateral, por 10 que resulta imposible
      llevar ese reclamo sobre los dafios ocasionados a la via arbitral ante un tribunal arbitral de
      Michigan Estados Unidos de Norte America, en observancia del art. 12.111 de la Ley 1770
      (fs. 41 y vta.).

     II.3.Apelada la anterior determinaci6n (fs. 45 a 47), la Sala Civil Segunda a cargo de las
     Vocales co-recurridas por Auto de Vista de 26 de mayo de 2006, anul6 el Auto de concesi6n
     de alzada de 24 de mayo 2004, con el argumento de que el art. 12.II1 de la Ley 1770 sefiala
     que la desestimaci6n de la excepci6n de arbitraje no admite recurso alguno, y en
     consecuencia, declar6 ejecutoriada la Resoluci6n de 29 de marzo de 2004 (fs. 48 y vta.), que
     fue notificada a la empresa representada por el recurrente el 9 de junio de 2006 (fs. 48 vta.).

     III. FUNDAMENTOS ruRiDlcos DEL FALLO




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      El recurrente, ahora accionante denuncia la vulneracion de los derechos de la empresa que
      representa, a la seguridad juridica· y a la defensa, aduciendo que dentro del proceso ordinario
      que se sigue contra su representada, esta interpuso excepcion de arbitraje, que fue
      desestimada por el Juez recurrido, por 10 que interpuso recurso de apelacion, habiendo las
      vocales co-recurridas, dictado Auto de Vista pot el que anularon el Auto de concesion de la
      alzada y declararon la ejecutoria de la Resolucion que desestima la excepcion planteada. Por
      consiguiente, en revision de la Resolucion de amparo constitucional, corresponde detenninar
      si se debe otorgar 0 no la tutela solicitada.

     III.I.Consideraciones previas. Aplicacion de la Constitucion Politica del Estado y uso de
     tenninologia adecuada en la acci6n de amparo constitucional

     De confonnidad a 10 establecido en el art. 410 de la Constituci6n Politica del Estado vigente
     (CPE), al ser la Constitucion la nonna suprema del ordenamiento juridico boliviano y gozar
     de primacia frente a cualquier otra disposicion nonnativa, a objeto de cumplir el mandato y
     las funciones establecidas por los arts. 1 y 7 de la LTC, 4 de la Ley 003, Ley de Necesidad
     de Transicion a los Nuevos Entes del Organo Judicial y Ministerio Publico, mediante la SC
     0011l201O-R de 6 de abril, este Tribunal detennino que toda su actuacion sera acorde al
     nuevo orden constitucional en observancia y coherencia con los Tratados y Convenios
     Intemacionales en materia de Derechos Humanos ratificados por el pais y que fonnan parte
     del bloque de constitucionalidad.

     Asimismo, en el orden procesal en 10 atinente a la tenninologia de esta acci6n tutelar, luego
     de un analisis nonnativo a traves de la SC 00711201O-R de 3 de mayo, se unifico criterios y
     se establecio que para referirse a la persona fisica 0 juridica que interponga esta accion
     tutelar sera 'accionante', y con relacion a la autoridad, funcionario, 0 persona contra quien se
     dirige esta acci6n correspond era el tennino 'demandado (a)'. De igual manera, en cuanto ala
     tenninologia con referencia a la parte dispositiva, en caso de otorgar la tutela se utilizara el
     tennino 'conceder' y en caso contraria 'denegar' la tutela.

     En los casos en que no sea posible ingresar al analisis de fondo de la problematica planteada,
     se mantendra la denegatoria, haciendose constar tal situaci6n, dado que el accionante puede
     nuevamente interponer la acci6n tutelar, siempre y cuando, cumpla con los requisitos de
     admisibilidad.

     Resoluciones que en virtud a los arts. 4 y 44 de la LTC, son de caracter vinculante para todas
     las autoridades judiciales que acruen como tribunal de garantias constitucionales, como para
     este Tribunal. (SC 0119/20 I O-R de lOde mayo).


     III.2.Legitimaci6n activa en la acci6n de amparo constitucional, en los cas os de
     representacion con mandato de personas juridicas

     III.2.I.Marco constitucional, legal y jurisprudencial

     El art. 19.II de la CPEabrg, establecia que EI recurso de amparo se interpondra por la
     persona que se creyere agraviada 0 por otra a su nombre con poder suficiente ... El art. 129.1
     de la CPE, establece que: la accion de amparo constitucional se interpondra por la persona
     que se crea afectada, por otra a su nombre con poder suficiente Por su parte, el art. 97 de la
     LTC, sefiala los requisitos de fonna y contenido a observar para la presentacion del amparo
     constitucional, prescribiendo en su paragrafo I: Acreditar la personeria del recurrente.
     Asimismo, el art. 98 de la citada Ley preve: El Tribunal 0 Juez competente en el plazo de
     veinticuatro horas admitira el recurso de amparo constitucional que cumpla con los requisitos
     de fonna y contenido exigidos por el articulo precedente; caso contrario sera rechazado. Los


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      defectos formales podra subsanar el recurrente en el plazo de cuarenta y ocho horas de su
      notificacion sin ulterior recurso.

      Al respecto la jurisprudencia constitucional establecio que: los requisitos formales son los
      previstos en los paragrafos I, II Y V del art. 97 de la LTC, los que podran ser subsanados por
      el recurrente en el plazo mencionado (SC 0245/2004-R de 20 de febrero, entre otras);
      empero, en los casos en que se omita observar el incumplimiento de un requisito de forma y
      pese a ello se admita el recurso, este defecto dara lugar a que se declare su improcedencia.
      Asi, las SSCC 0038/2005-R; 1730/2004 Y 1144/2003-R.

      La observancia del cumplimiento de los requisitos tanto de forma como de contenido para la
      admision del recurso, ahora accion de amparo constitucional, se sustentan en que de su
      cumplimiento depende que tanto el juez 0 tribunal de amparo asi como el Tribunal
      Constitucional, puedan compulsar sobre la base de criterios objetivos, la legitimacion de las
      partes, asi como la veracidad de los hechos reclamados y los derechos lesionados, para en
      definitiva otorgar 0 negar el amparo expresamente solicitado; a su vez tiende a garantizar
      tambien que con tales precisiones puedan estar a derecho las partes para asumir defensa en
      debida forma (SC 0365/2005-R de 13 de abril).

      Ahora bien, sobre el requisito de forma relacionado con la personeria del recurrente, hoy
      accionante, conforme a los preceptos constitucionales y legales anteriormente citados, este
      puede actuar por si 0 mediante representacion a traves de poder sufi ciente , 10 que resulta
      usual tratandose de personas juridicas 0 colectivas. Sobre el particular, la jurisprudencia del
      Tribunal Constitucional se ha pronunciado en reiteradas oportunidades haciendo hincapie en
      los requisitos que se deben cumplir a los efectos de que el poder notarial que se acompafia al
      recurso sea considerado suficiente a los efectos de la admision a tramite de un amparo
      constitucional promovido por personas juridicas. Asi, este Tribunal en la SC 017112005-R de
      28 de febrero, ha sefialado:

      .. .la SC 0022/2003-R, de 8 de enero, ha dejado sentado 10 siguiente: 'En el caso de las
      personas juridicas, como es la sociedad agricola ganadera 0 el recurrente, que es quien
      demanda en su representacion, debi6 acreditar su condicion de legitimo representante
      adjuntando el poder correspondiente, en el que debia constar inexcusablemente el acta de
      constitucion de la sociedad, la nomina de socios, su inscripcion al registro de Comercio, su
      personeria juridica y sus Reglamentos.O'. Por su parte, en la SC 1823/2003-R, de 5 de
      diciembre que compulsaba una problematica relacionada con un recurso de amparo
      presentado a nombre de una empresa argentina, se sefial6: '0 el Poder Especial presentado
      por el recurrente y que cursa de fs. 1 a 3, acredita que 0 en su condicion de representante
      legal de la 0 Ie faculta a interponer el presente amparo constitucional; sin embargo, en el
      mismo documento no consta la escritura de constitucion de la referida sociedad comercial,
      sus estatutos, la resolucion que Ie confiere personalidad juridica, su inscripcion al registro
      correspondiente mas aim tratandose de una entidad constituida en el extranjero, en el referido
      Poder tampoco consta que se encuentra legalmente establecida en Bolivia.
      Consiguientemente, se determina que el recurrente carece de legitimacion activa para
      interponer el recurso al no haber acreditado debidamente su personeria, omision que
      determina la improcedencia del recurso e impide conocer el fondo de asunto y que debio ser
      observada por el Tribunal de amparo a tiempo de considerar la presentaci6n del recurso, en
      estricto cumplimiento de 10 dispuesto por el art. 19.11 CPE y 97.1 LTC.' Este mismo criterio
      fue asumido en la SC 0994/2004-R, de 29 de junio, relacionada con un poder otorgado en la
      Republica de Mexico.

      La misma Sentencia resolviendo el caso concreto, mismo que contiene situaciones facticas
      similares al asunto que ahora se analiza en relacion al poder presentando en el recurso que Ie
      to co resolver, hizo enfasis en 10 siguiente: Dicha linea jurisprudencial corresponde ser


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      aplicada a la problematica que se analiza, en vista de que el Poder otorgado por Diego
      Canelos Velasco, en representacion de Seatech International Inc. a favor del recurrente, ante
      Notaria de la ciudad de Cartagena de Indias-Colombia, protocolizado por orden judicial en la
      Notaria de Fe Publica 054 de La Paz-Bolivia, no cumple los requisitos precedentemente
      sefialados, puesto que no consta en el mismo el acta de constitucion de la indicada sociedad
      comercial, la acreditacion de su personalidad juridica, estatuto, reglamento, nomina de sus
      socios y menos que se encuentra legalmente establecida en Bolivia, exigencias que deben
      cumplirse a los efectos de establecer con certeza la existencia legal de la persona juridica que
      demanda, presupuesto indispensable -tratandose de este tipo de personas- para que ella pueda
      ser considerada titular de derechos e invocar la vulneracion a los mismos, siendo adem as que·
      de acuerdo a 10 referido por el propio actor, se trata de una sociedad constituida y con
      domicilio legal en el extranjero, que no ejerce actos de comercio en Bolivia, no habiendose
      demostrado por tanto el reconocimiento de su capacidad juridica por parte del Estado
      Boliviano, por 10 que no se encuentra legitimada activamente para interponer el presente
      recurso, condicion que es esencial para la admision del amparo. Consecuentemente, no
      habiendo el actor acreditado debidamente su personeria, el recurso debe ser declarado
      improcedente, no pudiendose ingresar al anruisis de fondo del asunto, aspecto que el
      Tribunal de amparo debio tomar en cuenta a tiempo de admitir la demanda, en observancia
      de 10 establecido por los arts. 19.11 de la CPE y 97.1 de la LTC

      Consecuentemente, la nocion sobre 10 que debe entenderse por poder suficiente al que hacen
      referencia los arts. 19.11 de la CPEabrg y 129.1 de la CPE, conforme a la jurisprudencia
      precedentemente glosada, pasa por la observancia de requisitos imprescindibles que debe
      contener el poder para demostrar la representacion de una persona fIsica que pretenda actuar
      a nombre de una persona juridica, como son el acta de constitucion de la sociedad, la
      acreditacion de su personalidad juridica, la nomina de socios, su inscripcion en el Registro
      correspondiente, Estatutos y Reglamentos; jurisprudencia que por 10 demas ha sido reiterada
      en varios fallos, entre los que podemos citar las SSCC 0858/2005-R, 1121/2006-R,
      0773/2007-R Y mas recientemente la SC 0137/201O-R de 17 de mayo, jurisprudencia que
      tiene caracter vinculante a tenor de 10 establecido por el art. 44.1 de la LTC, por 10 que
      resulta obligatoria no solo para los organos del Estado, legisladores y autoridades, sino
      tambit~n para este Tribunal.


      111.2.2 Analisis del caso concreto

     La jurisprudencia precedentemente glosada es de aplicacion al caso que se revisa, por cuanto
      de la revision del poder de representacion acompafiado por el recurrente, ahora accionante
     (fs. 17 a 25, y su original de fs. 93 a 101) se evidencia que si bien Ford Motor Company Ie
     faculta a actuar en defensa de la empresa dentro del proceso civil que ha motivado el
     entonces recurso, hoy accion, pudiendo al efecto interponer recurs os ordinarios y
     extraordinarios incluyendo los recursos constitucionales establecido en la Ley del Tribunal
     Constitucional (sic); no cursa en dicho instrumento minimamente la transcripcion de los
     documentos relativos a la constitucion de la compafiia, la acreditacion de su personalidad
     juridica, documentos relativos a la legal conformacion de su directorio, miembros que la
     integran, eleccion de su representante legal, normas que autoricen delegar facultades, etc; por
     el contrario, se establece mas bien la otorgacion de facultades por una Secretaria Suplente y
     que otro Secretario tambien suplente, certifica que la primera es precisamente Secretaria
     Suplente y que a ella Ie delegaron facultades a su vez delegadas por el Presidente del
     Directorio, por 10 que el aludido poder no puede ser considerado suficiente, habiendose
     inobservando en consecuencia un requisito formal, en tal virtud el Tribunal de amparo debio
     rechazar el recurso, pero dado que fue admitido hasta dictarse la Resolucion que se revisa,
     corresponde denegar la tutela solicitada sin ingresar al analisis de fondo de la problematica
     planteada.




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     1I1.3.EI principio de subsidiariedad y de inmediatez en la interposicion de la accion de
     amparo constitucional

     EI recurso de amparo constitucional, actualmente accion de amparo constitucional, instituido
     por el art. 128 de la CPE, contra los actos u omisiones ilegales 0 indebidos de los servidores
     publicos, 0 de persona individual 0 colectiva, que restrinjan, supriman, 0 amenacen restringir
     o suprimir los derechos reconocidos por la Constitucion y la ley; constituye un medio de
     tutela de canicter extraordinario, que esta regido por los principios de subsidiariedad e
     inmediatez en la interposicion de la tutela.

     III.3.l. En cuanto a la idoneidad de los medios y recursos tendientes a reparar el dafio 0
     lesion de derechos

     En cuanto al agotamiento de los medios 0 recursos legales sean en la via judicial o·
     administrativa antes de interponer la accion de amparo constitucional, la jurisprudencia
     constitucional ha establecido que los mismos deben ser los idoneos y efectivos; vale decir,
     aquellos que se encuentran establecidos por ley para cada situacion 0 caso en particular, no
     siendo coherente acudir a un medio 0 recurso legal que se sabe de antemano resultara
     inviable, pues especialmente tratandose de decisiones judiciales, los procedimientos que
     rigen las diferentes materias establecen con precision los recursos que corresponden a
     determinada resolucion judicial, por 10 que el titular del derecho no puede extraviarse
     acudiendo 0 utilizando medios 0 recursos que no son aptos para enervar el acto que estima
     lesivo, sino que mas bien debe buscar una proteccion inmediata por via del amparo una vez
     agotados los medios adecuados en la via ordinaria.

     Al respecto, la SC 077012003-R, sefialo que: el principio de subsidiariedad no implica la
     utilizacion de cualquier medio 0 recurso sino los idoneos, empero la utilizacion de otros que
     no sean los adecuados para hacer cesar el acto ilegal u omision indebida que se reclama no
     neutraliza la proteccion de amparo, siempre que se hubiesen utilizado los requeridos por ley,
     10 que no sucede cuando ocurre 10 contrario, pues la falta de utilizacion de los medios
     idoneos anula toda posibilidad de ingresar al fondo de la problematica sino tambien de
     otorgar la tutela.

     111.3.2 En cuanto al plazo de los seis meses 0 inmediatez en la solicitud de tutela

    El principio de inmediatez, entendido no solo como la tutela inmediata, sino tambien como el
    requisito de solicitar la misma en forma pronta, oportuna y sin dilaciones innecesarias, es.
    decir, una vez que se opere la vulneracion del derecho y se agoten las vias legales ordinarias;
    en otras palabras, es el plazo para la interposicion de esta accion tutelar, que actualmente se
    encuentra previsto en el art. 129.11 de la CPE, que sefiala: La Accion de Amparo
    Constitucional podra interponerse en el plazo maximo de seis meses, computable a partir de
    la comision de la vulneracion alegada 0 de notificada la ultima decision administrativa 0
    judicial.

    Este plazo de caducidad, encuentra senti do cuando se tiene en cuenta que la jurisdiccion
    constitucional no puede aguardar de manera indefinida a que el titular del derecho soli cite su
    proteccion, pues en su propio interes debe ser diligente en cuanto al respeto y vigencia de sus
    derechos que sufren menoscabo, por ello tiene el derecho y e1 deber de acudir sin ningUn tipo
    de espera 0 dilacion en busca de la proteccion requerida. Al respecto, la ya cit ada SC
    0770/2003-R, sefialo que: ... resulta logico, puesto que responde no solo al principio de
    inmediatez sino tambien a los principios de preclusion y celeridad, los mismos que no solo
    dependen de los actos de la autoridad sino tambien del peticionante, quien debe estar
    compelido por su propio interes a realizar el seguimiento que corresponda a su solicitud, de
    modo que cuando no ha sido diligente en propia causa no se puede pretender que esta


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     jurisdiccion este supeditada en forma indefinida para otorgarle protecci6n.

     IlL 3.3 En cuanto al momento 0 inicio de dicho c6mputo

     Como sefiala la norma constitucional citada, art. 129.II de la CPE, es a partir de la comisi6n
     de la vulneraci6n alegada 0 de notificada la ultima decision administrativa 0 judicial, que se
     considera Ie siva y que es inimpugnable, y por tanto agota la via respectiva; 0 desde la
     notificacion con la resolucion emergente de un recurso 0 medio impugnativo que el
     agraviado y accionante hubiese utilizado para la proteccion de sus derechos lesionados. No
     obstante en un plano de equilibrio y coherencia con el principio de subsidiariedad, para dicho
     c6mputo debe tenerse en cuenta que ese acto 0 medio impugnativo utilizado en la via
     reparadora, y previa a la acci6n de amparo, debe ser id6neo, es decir, previsto por ley, y que
     tenga la posibilidad de cambiar el fondo de 10 que se acusa de ilegal 0 lesivo de derechos;
     estando exento de dicho c6mputo aquellos medios y recursos no previstos por ley 0
     presentados err6neamente, toda vez que la finalidad de esta acci6n tutelar no es reparar
     errores del agraviado 0 accionante, sino, derechos fundamentales.

     En ese senti do, este Tribunal ya gener6 un razonamiento, como el caso de la SC 0079/2007-
     R de 23 de febrero, que al respecto estableci6 que: cuando se rec1ama ante instancias no
     competentes 0 por medios no id6neos, estos no pueden interrumpir el plazo de seis meses de
     caducidad del recurso de amparo, ya que al no ser mecanismos legales, no pueden generar
     una consecuencia juridica habilitante para impedir la prescripci6n del derecho a acceder a
     dicho recurso; en tal senti do, s610 las vias legales e id6neas interrumpen el plazo de seis
     meses determinado como maximo para acceder al recurso de amparo constitucional, criterio
     seguido en las SSCC 0252/2007-R, 0646/2007-Ry 0687/2007-R.

     A mayor abundamiento, cabe sefialar que cuando se impugnan resoluciones judiciales 0
     administrativas a traves de esta acci6n tutelar, a partir del entendimiento sentado en las SC
     52112010-R, de 5 de julio, si la resoluci6n ha sido ac1arada, enmendada 0 complementada,
     s610 en ese caso el plazo se computa desde la notificaci6n de la resolucion que dio lugar a
     dicha solicitud.

     A mayor abundamiento cabe sefialar que cuando se impugnan resoluciones judiciales 0
     administrativas a travez de esta acci6n tutelar a partir del entendimiento sentado en la SC
     0512/2010-R de 5 de julio, si la Resoluci6n ha sido ac1arada, emanada 0 complementada,
     solo en ese caso se computa desde la notificaci6n que dio lugar a dicha solicitud.

     IIL3.4 AnaIisis del caso
     El fondo de la problematica denunciada por el accionante es que la empresa que indica
     representar, dentro de un proceso ordinario que se sigue en su contra en la justicia ordinaria
     civil, interpuso excepcion de arbitraje, que fue desestimada por el Juez demandado,
     resoluci6n confirm ada por el Tribunal de apelaci6n, motivo por el cual interpone la acci6n de
     amparo constitucional que hoy se revisa.

    No obstante, de la revisi6n de los datos del expediente se constata que la resoluci6n que
    rechaz6 la excepcion de arbitraje pronunciada por Basilio Cruz Chilo, Juez Septimo de
    Partido en 10 Civil Comercial del Distrito Judicial de Comercial del Distrito Judicial de
    Cochabamba, es de 29 de marzo de 2004; al respecto es preciso seiialar que el art. 12 de la
    Ley de Arbitraje y Conciliaci6n (LAC), regula 10 relacionado ala Excepci6n de arbitraje, y
    establece que:

    L El convenio arbitral importa la renuncia de las partes a iniciar proceso judicial sobre las
    materias 0 controversias sometidas al arbitraje. II. La autoridad judicial que tome
    conocimiento de una controversia sujeta a convenio arbitral debe inhibirse de conocer el caso


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      cuando 10 soli cite la parte judicialmente demandada. En este caso, dicha parte puede oponer
      excepcion de arbitraje en forma documentada y antes de la contestacion. La excepcion sera'
      resuelta sin mayor tramite, mediante resolucion expresa. I1I.Constatada la existencia del
      convenio arbitral y sin lugar a recurso alguno, la autoridad judicial competente declarara
      probada la excepcion de arbitraje 0, pronunciandose tinicamente sobre la nulidad 0 ejecucion
      imposible del convenio arbitral desestimara la excepcion de arbitraje. IV.No obstante
      haberse entablado accion judicial, se podra iniciar 0 proseguir las actuaciones arbitrales y
      dictar laudo mientras la excepcion este en tramite ante el juez.

      Precisamente, por ello es que Virginia Rocabado Ayaviri, Maria del Carmen Ponce de
      Rocha, Vocales de la Sala Civil Segunda de la Corte Superior del mismo Distrito Judicial,
      mediante Auto de Vista de 26 de mayo de 2006, anularon la concesion de apelacion por el
      Juez de instancia, en base a la citada prevision legal del art. 12.III de la (LAC), por cuanto su
      desestimacion no admite recurso alguno; citando para ello, inclusive el Auto Supremo 78 de .
      II de abril de 2005, que seiiala: cuando la autoridad judicial constata la existencia de
      convenio arbitral, debe declarar probada la excepcion de arbitraje mediante resolucion
      expresa que no admite recurso alguno, conforme al art. 12.III de la citada ley especial que es
      de aplicacion preferente por mandato del art. 5 de la Ley de Organizacion Judicial. Que, por
      las razones expuestas en el caso presente, no correspondian interponerse y menos concederse
      los recurso tanto de apelacion como de casacion (fs. 16). Extremo que el propio accionante
      10 reconoce en su memorial de demanda al seiialar que: Indudablemente, no corresponde el
      recurso de apelacion por disposicion del citado parrafo II del art. 12 de la Ley 1770 (sic) (fs.
      28 vta.).

      En consecuencia, sin necesidad de mayor argumentacion, al estar demo strada y aceptada la
      inidoneidad de la apelacion y por ende el Auto de Vista de 26 de mayo de 2006, su'
      notificacion no puede ser considerada para el inicio de computo de plazo de los seis meses,
      sino desde la notificacion con la Resolucion de 29 de marzo de 2004, que fue en el mes de
      abril del mismo aiio, y que si bien en el expediente no cursa la diligencia de dicha
      notificacion, al cursar de fs. 9 a 11, la inidonea apelacion de presentada el 12 de abril de
      2004, queda por demas evidente que esta accion de amparo ha sido presentada
      extemporaneamente, el 9 de diciembre de 2006, tal cual consta de fs. 27 a 31. Extremo que
      ratifica la denegatoria de la tutela solicitada con la aclaracion que no se ha ingresado al
      analisis de fondo de la problematica denunciada.

      En consecuencia, la situacion planteada no se encuentra dentro de los alcances y previsiones
      del amparo constitucional, por 10 que el Tribunal de garantias al haber declarado
      improcedente el entonces recurso, ha efectuado una adecuada compulsa de los antecedentes
      procesales y ha dado correcta aplicacion a esta accion tutelar.

      POR TANTO

     El Tribunal Constitucional, en virtud de la jurisdiccion y competencia que Ie confieren los
     arts. 4 y 6 de la Ley 003 de 13 de diciembre de 2010, denominada Ley de Necesidad de
     Transicion a los Nuevos Entes del Organo Judicial y Ministerio PUblico; 7 inc. 8 y 102.V de
     la LTC, en revision resuelve APROBAR la Resolucion de 2 de febrero de 2007, cursante de
     fs. 89 a 90 vta., pronunciada por la Sala Penal Tercera de la Corte Superior del Distrito
     Judicial Cochabamba; y en consecuencia, sin ingresar al analisis de fondo de la problematic a
     planteada, DENIEGA la tutela solicitada.

     Registrese, notifiquese y publiquese en la Gaceta Constitucional.

     No interviene el Decano, Dr. Abigael Burgoa Ordoiiez por excusa declarada legal.




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     Fdo. Dr. Juan Lanchipa Ponce
     PRESIDENTE

     Fdo. Dr. Emesto Felix Mur
     MAGISTRADO

     Fdo. Dra. Ligia Monica Vehlsquez Castafios
     MAGISTRADA

     Fdo. Dr. Marco Antonio Baldivieso Jines
     MAGISTRADO




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